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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA



  THROUGHPUTER, INC.,

                        Plaintiff,                                     3:21cv216
                                                    Civil Action No. ______________

          v.

                                                    JURY TRIAL DEMANDED
  MICROSOFT CORPORATION,

                        Defendant.



                      COMPLAINT FOR PATENT INFRINGEMENT

       ThroughPuter, Inc. (“ThroughPuter”) hereby alleges for its Complaint (“Complaint”)

against Microsoft Corp. (“Microsoft”) as follows.
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                                      INTRODUCTION

       1.      A Field Programmable Gate Array (FPGA) is a specific type of microprocessor that

can be reconfigured based on the tasks to be performed by it.           In some situations, this

reconfiguration takes place in between the performance of tasks by the FPGA. For example, the

FPGAs can be configured and re-configured to provide hardware accelerators for data processing

functions such as encoding/decoding, encryption/decryption or compression/decompression and

then reconfigured to perform speech translation in addition to, e.g., encryption and compression.

Starting in 2015, Microsoft started putting FPGA processors in each server for Microsoft Azure

(“Azure”), which is the world’s largest cloud computing platform-as-a-service (PaaS). Using these

FPGA processors for the underlying dynamic parallel execution environment or architecture,

Microsoft claims a 150-200 fold improvement in data throughput and a 50 fold improvement in

energy efficiency. Exhibit 15 at 91, Exhibit 29. Latency has also lowered by about a factor of 10.

Exhibit 15 at 86, Exhibit 29. The end result is a power savings in Microsoft and increased

processing speeds for Microsoft and the users of applications running on the world’s largest cloud

computing platform.

       2.      In 2013, Plaintiff ThroughPuter disclosed a reconfigurable and dynamic parallel

execution architecture running on FPGA processors in writing to Microsoft. Two years later,

Microsoft filed a patent application on the same hardware-based fabric (failing to disclose to the

Patent Office any information about ThroughPuter’s technology or earlier patent filings).

Microsoft was ultimately awarded the patent, which has claims that match almost exactly those of

ThroughPuter’s U.S. Patent No. 10,963,306, which is the basis for Count 1 of this complaint. In

other words, Microsoft was awarded a patent on the same hardware-based fabric claimed in the




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ThroughPuter patents, wrongly suggesting that Microsoft had invented the architecture underlying

Azure where ThroughPuter had already patented that architecture and disclosed it to Microsoft.

       3.      The figure below left is an excerpt from the materials disclosed by ThroughPuter

to Microsoft in 2013, disclosing an application load and type adaptive “manycore fabric.” The

different colors show different reconfigurable cores (e.g., logic blocks of FPGA processors) being

assigned different tasks over time. The figure on the right is a colorized version of figures from

Microsoft’s 2015 patent filing. The Microsoft figures show the same reconfiguration of cores to

different tasks over time.




Exhibit 23 at 18.


                                                    Exhibit 11, FIGs. 15C and 15D (annotated)

       4.      Microsoft’s copying of ThroughPuter’s technology was deliberate and wanton.

While ThroughPuter has managed to survive as a small company developing and offering for sale

other innovative solutions enabled by the throughput improvements which result from


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ThroughPuter’s patented technology, Microsoft’s copying and infringement of ThroughPuter’s

intellectual property has irreparably damaged ThroughPuter’s prospects of entering the PaaS

market, which had grown from $3.8B in 2015 to $37.5B in 2019.1

          5.       ThroughPuter has attempted repeatedly to engage with Microsoft to resolve this

matter outside of litigation. Microsoft has rejected or ignored ThroughPuter’s proposals and

requests for business resolution of the matter.

          6.       Microsoft’s decision to reject ThroughPuter’s proposals and offers to collaborate

has created a highly inequitable situation by which Microsoft has used its tremendous market

power to scale up the world’s largest and most successful cloud computing platform. Microsoft

did this based on the technology it copied from ThroughPuter: a small start-up that could have

only competed based on its effort to protect and patent its innovations. Microsoft vaporized the

competitive edge to which ThroughPuter was entitled by its decision to ignore ThroughPuter while

generating billions of dollars in revenue per quarter based on its unlawful exploitation of

ThroughPuter’s technology.

          7.       In a 2016 presentation entitled “Catapult at Ignite Innovation Keynote,”

Microsoft’s Chief Executive Officer, Mr. Satya Nadella, boasted of the numerous benefits

Microsoft had achieved by incorporating FPGAs into its cloud computing offerings: “We now

have FPGA support across every compute node of Azure. That means we have the ability, through

the magic of the fabric that we have built, to distribute your machine learning tasks, your deep

neural nets, to all of the silicon that is available, so that you can get that performance, that scale.”

Exhibit 31 at 9 (emphasis added). The “magic of the fabric” did indeed allow Microsoft to scale




1
    https://www.statista.com/statistics/505248/worldwide-platform-as-a-service-revenue/


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up an FPGA-based cloud computing solution. But the “magic of the fabric” was not invented by

Microsoft, it was copied from ThroughPuter.

       8.      According to Dr. Doug Burger (with whom ThroughPuter corresponded about its

technology), the “magic of the fabric” referred to by Microsoft’s CEO, use of FPGAs “allows us

to do things on a scale that hasn’t been done before.” According to Dr. Burger: “It gives us the

most powerful cloud, the most flexible cloud, and the most intelligent cloud.” Id. at 30, 34.

       9.      The loss of ThroughPuter’s technical competitive advantage through Microsoft’s

copying based infringement, which Microsoft admits gives it on the order of 100-fold performance

and efficiency gain, has devastated ThroughPuter’s business, including the ability to raise

sufficient startup capital, gain collaborators, partners and initial customers, and to generally enter

the market with a differentiated or more cost-efficient solution. ThroughPuter has survived

notwithstanding Microsoft’s anticompetitive tactics due to its ability to innovate in the fields of

application of its core technology.

       10.     ThroughPuter now brings this action based on Microsoft’s willful infringement of

the patents that form the causes of action herein.


                                  NATURE OF THE ACTION

       11.     This is an action for patent infringement arising under the Patent Laws of the United

States, 35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.2

       12.     ThroughPuter brings this action to halt Microsoft’s infringement of its rights under

the Patent Laws of the United States, 35 U.S.C. § 1 et seq., which arise under the following patents:




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 In addition to the patents asserted in this action, ThroughPuter owns certain patent applications
directed to the technology at issue in this action pending under the following U.S. Patent
Application Nos. 16/798,310; 16/834,961; 16/812,158; 16/894,177; 17/195,174; and 17/212,903.


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                U.S. Patent No. 10,963,306 (“the ’306 patent”), which is attached hereto as

                 Exhibit 1,

                U.S. Patent No. 10,620,998 (“the ’998 patent”), which is attached hereto as

                 Exhibit 2,

                U.S. Patent No. 10,437,644 (“the ’644 patent”), which is attached hereto as

                 Exhibit 3,

                U.S. Patent No. 10,430,242 (“the ’242 patent”), which is attached hereto as

                 Exhibit 4,

                U.S. Patent No. 10,318,353 (“the ’353 patent”), which is attached hereto as

                 Exhibit 5,

                U.S. Patent No. 10,310,902 (“the ’902 patent”), which is attached hereto as

                 Exhibit 6,

                U.S. Patent No. 10,133,599 (“the ’599 patent”), which is attached hereto as

                 Exhibit 7,

                U.S. Patent No. 9,632,833 (“the ’833 patent”), which is attached hereto as

                 Exhibit 8, and

                U.S. Patent No. 9,424,090 (“the ’090 patent”), which is attached hereto as

                 Exhibit 9.

                                          THE PARTIES

       13.       Plaintiff ThroughPuter, Inc. is a Delaware corporation having a principal place of

business within this District at 249 Richmond Road, Williamsburg, VA 23185 and is licensed to

sell goods and services in the Commonwealth of Virginia and this District under Virginia Entity

ID number 11115424. Plaintiff has been developing its technology platform based services in this



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District since at least May 2020. Plaintiff owns over 50 issued domestic and foreign patents and

pending applications protecting its products, services and technologies including those offered for

sale within this District. ThroughPuter’s President, Mark Sandstrom, is the named inventor on

each of such patents and applications.

       14.     Plaintiff is a member of The College of William & Mary’s Launchpad business

incubator, also known as the Miller Entrepreneurship Center. Plaintiff’s physical office space has

been the William & Mary Launchpad business incubator since May 2020, although physical usage

of that space has been limited due to the COVID-19 pandemic.

       15.     From March 2020 to present, ThroughPuter has employed at any given time from

two to four hardware and software developers and architects as employees and one architect as an

independent contractor. But for the pandemic, all of the developer and architect employees would

have been physically working in this District. Due to the pandemic, however, it has been necessary

to accommodate remote work. From March 2020 to present, at least two of the developers and

architects were physically working within this District. After the pandemic, Plaintiff intends all

or most full-time technical team members to work at office space located within this District.

       16.     Plaintiff has developed and continues to develop within this District various

products and services, including i) Estimator™, a machine learning Application Specific Processor

(“ASP”)-as-a-service offering of the ThroughPuter PaaS project, and ii) Grafword™, an artificial

intelligence (“AI”) powered, graphical authentication service that is a pilot application of the

Estimator™ machine learning microservice.

       17.     Estimator™ provides a streaming machine learning (“ML”) microservice, to

support AI applications in unpredictably changing operating environments. Estimator™ allows its

prediction models and logic parameters to be adjusted continuously while the microservice is in




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operation, such that its predictions will stay tuned-in to the prevailing reality of its operating

environment, as that may evolve over time or even change abruptly. An International Search

Report recently conducted by the International Search Authority under the Patent Cooperation

Treaty concluded that this technology is patentable. A beta version of the Estimator™ application

programming interface is currently commercially available for 3rd party developer subscription at

www.estimatorlab.com.

       18.     Grafword™ provides graphic based high-security password generation and

authentication, such that the level of authentication challenge is adjusted according to a level of

deviation of a given user’s online session attributes from what is expected for the given username.

Grafword™ thus provides both high security as well as, for the authentic users, convenience in

online authentication. An International Search Report recently conducted by the International

Search Authority under the Patent Cooperation Treaty also concluded that this technology is

patentable. A beta version of Grafword™ is used for Estimator™ account creation and login:

https://estimatorlab.com/landing.

       19.     Both Estimator™ and Grafword™ have the potential to change the space in which

they are offered due to the advantages provided by ThroughPuter’s claimed inventions such as

increased throughput and latency.

       20.     Microsoft is a corporation organized and existing under the laws of the State of

Washington with its principal place of business at One Microsoft Way, Redmond, WA 98052.

       21.     Microsoft may be served with process through its registered agent Corporation

Service Company, 100 Shockoe Slip, 2nd Floor, Richmond, VA, 23219 - 4100.

       22.     On information and belief, Microsoft has been registered to do business in the

Commonwealth of Virginia under Virginia Entity ID number F1157421 since about October 1993.




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        23.      On information and belief, Microsoft has had regular and established places of

business in this judicial district since at least 1987.

        24.      Microsoft currently maintains regular and established places of business throughout

this District, including corporate sales offices, retail store locations and data centers.

        25.      Microsoft has corporate sales offices within this District in Tysons Corner, VA and

Reston, VA.

        26.      Microsoft’s Azure Data Center is located within this District at 101 Herbert Drive,

Boydton, VA 23917.

        27.      On information and belief, Microsoft’s data center in Boydton, VA spans over

1,000,000 square feet.

        28.      On information and belief, Microsoft has had at least one additional data center in

this District since at least 2014.

        29.      On information and belief, Microsoft employs at least hundreds of people within

this District.


                                     JURISDICTION AND VENUE

        30.      This is an action for patent infringement which arises under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

        31.      This Court has subject matter jurisdiction at least under 28 U.S.C. §§ 1331 and

1338.

        32.      Venue is proper in this District under 28 U.S.C. § 1400(b) because Microsoft has

committed acts of infringement and has a regular and established place of business in this District.

        33.      This Court has personal jurisdiction over Defendant Microsoft pursuant to due

process and/or Virginia’s Long Arm Statute because Microsoft has committed and continues to



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commit acts of patent infringement, including acts giving rise to this action, within the

Commonwealth of Virginia and this District, and because Microsoft recruits Virginia residents,

directly or through an intermediary located in this state, for employment inside or outside this state.

       34.     The Court’s exercise of jurisdiction over Microsoft would not offend traditional

notions of fair play and substantial justice because Microsoft has established at least the required

minimum contacts with the forum.

       35.     Microsoft maintains regular and established places of business throughout Virginia

and in this District, including the aforementioned corporate sales offices, retail store locations, and

the Azure Data Center.

       36.     Microsoft has substantial business contacts within this District and has purposefully

availed itself of the privileges and benefits of the laws of the Commonwealth of Virginia.

                                         BACKGROUND

       37.     This case involves ThroughPuter’s patented cloud computing, computing

acceleration and related technologies, which were developed starting in 2010.

       38.     As of that time, advancements in computing technologies had generally fallen into

two categories. First, in the field conventionally referred to as high performance computing, the

main objective has been maximizing the processing speed of a given computationally intensive

program running on dedicated hardware. In this field, speed was traditionally achieved by

assigning a combination of separate parallel processors to all work on the same program

simultaneously. Second, in the field conventionally referred to as utility or cloud computing, the

main objective has been to most efficiently share a given pool of computing hardware resources

among a large number of client application programs.




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         39.   Thus, in effect, one branch of computing innovation has been seeking to effectively

use a large number of parallel processors to accelerate execution of a single application program

by parallelizing its processing across a maximum possible number of processors. At the same

time, another branch of computing innovation has been seeking to share a single pool of computing

capacity among a large number of application programs to optimize utilization of processing

capacity. The former efforts pursue maximizing processing speed of a single program. The latter

efforts pursue maximizing utilization of processing capacity.

         40.   As of the time of ThroughPuter’s pioneering patent filings starting in 2011, there

had not been major synergies between the effort to increase processing speed of a single program

on the one hand, and maximizing processing capacity utilization on the other. Indeed, pursuing

one of these traditional objectives often happened at the expense of the other, placing the two

objectives in tension with each other.

         41.   For instance, while dedicating an entire parallel processor based (super) computer

to each individual application would increase processing speed of the individual programs, it

would also cause severely sub-optimal computing resource utilization, as much of the capacity

would be idle much of the time. On the other hand, while seeking to improve utilization of

computing systems by sharing their processing capacity among a number of applications would

lead to enhanced resource utilization, it also tended to slow down processing of individual

programs. As such, the overall cost-efficiency of computing was not improving as much as

improvements toward either of the two traditional objectives would imply: traditionally, increases

in processing speed came at the expense of system utilization efficiency, while overall system

utilization efficiency maximization came at the expense of individual application processing

speed.




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       42.     The foregoing tension was exacerbated by the fact that even mainstream application

performance requirements were increasingly exceeding the processing throughput achievable from

a single CPU core, e.g., due to the practical limits being reached on the CPU clock rates. This

created an emerging requirement for intra-application parallel processing (at ever finer grades)

even for mainstream programs in order to pursue satisfactory processing speeds, while these

programs were to be increasingly hosted on cloud platforms where the processing resources would

be shared among programs of multiple clients.

       43.     These internally parallelized and/or pipelined (concurrent) enterprise and web

applications would ultimately be largely deployed on dynamically shared cloud computing

infrastructure by entities such as Microsoft using the technologies patented, pioneered and

promoted by ThroughPuter.

       44.     Given the foregoing, there existed a need as of 2011 for supporting a large number

of concurrent applications on dynamically shared parallel processing resource pools. This then-

existing need for a new parallel computing architecture could be met by a system that enabled

increasing the speed of executing application programs (including through execution of a given

application in parallel across multiple processor cores and/or using hardware accelerators) while

at the same time improving the utilization of the available computing resources.

       45.     To address these problems, ThroughPuter developed hardware implemented

dynamic resource management functionality including a scheduler, placer, inter-task

communications and input/output system for use with multicore processor arrays dynamically

shared among multiple concurrent applications, preferably to be deployed on FPGA processors.

To that end, in this technology approach, the manycore processor array involves a fabric of

reconfigurable cores that can be on-demand programmed to supply the needed mix or match of




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hardware accelerators. ThroughPuter’s technology provided a cloud computing solution that

enables accelerated processing speeds across multiple application programs while at the same time

optimizing processing resource utilization.

       46.     An exemplary embodiment of ThroughPuter’s Dynamic Parallel Execution (DPE)

Environment™ (sometimes referred to as “DPEE™” or “DPEE™ technology”) is depicted in, for

example, ThroughPuter’s U.S. Patent No. 9,424,090. Exhibit 9. Referring to the figures and tables

of the representative ’090 patent reproduced below, this preferred embodiment includes an array

of core slots 120. The processors, or cores, are coordinated and coupled together with a

hardware-based manycore fabric managed by the controller, which allows the client program

tasks to be dynamically placed on processor cores of many-core arrays while communicating with

each other directly and securely.




Exhibit 9, FIG. 1 (annotated).



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         47.   ThroughPuter’s hardware-based manycore fabric enables processing to be

dynamically parallelized and hardware-accelerated, which results in optimized on-time processing

throughput across the programs sharing an array of manycore processors. The effect for the client

or end user of an accelerated service is increased processing speed and reduced cost base for

delivering the application service, such that it becomes economically feasible for cloud service

providers to support a range of performance intensive applications even without charge to end-

users.

         48.   In a preferred embodiment, the controller 140 monitors the processing load for

each program sharing the manycore array 110, so that periodically re-optimized sets of tasks

from the programs can be periodically assigned for execution on the pool of processor cores 120.

Such periodic reassignment allows for optimal utilization of a pool of processing resources across

a number of potentially competing, concurrent applications.          ThroughPuter’s exemplary

embodiment enables assigning time-variable sets of application tasks for execution on the fabric

of reconfigurable cores.

         49.   A variety of application tasks 240 are assigned to be run on the core fabric, which

includes an array of core slots within the core fabric. Each application task may be assigned

to run on a single processor core within the core fabric. The cross-connect, which connects the

various components of the hardware-based manycore fabric, is used by the controller to

repeatedly optimize assignment of tasks to the appropriate processor core slots.




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Exhibit 9, FIG. 2 (annotated).

       50.     The controller manages the mapping of application tasks to processor cores

within the core fabric. The result is a system which dynamically and in real-time adapts to varying

application processing loads to provide scalable, secure, high-performance and resource-efficient

parallel cloud computing.




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Exhibit 9, FIG. 3 (annotated).




Exhibit 9, Table 5 (annotated).




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       51.     This novel application load and type adaptive manycore fabric permits tasks or

applications to be managed at a high degree of granularity with minimized processing overhead

while providing various advantages not previously attainable.

       52.     In recognition of ThroughPuter’s innovative achievements, ThroughPuter’s Mark

Sandstrom was invited to speak at various high performance and cloud computing conferences

starting in 2012. GigaOm selected ThroughPuter as one of eleven finalists to present at Launchpad

2012 in San Francisco, CA. That same year, ThroughPuter was invited to present its Dynamic

Parallel Execution Environment (DPEE) based PaaS approach at the high performance computing

start-up showcase at the Supercomputing 2012 conference (“SC12”) in Provo, UT.

       53.     In February 2013, Mr. Sandstrom reached out to Dr. Doug Burger, Director of

Client and Cloud Applications at Microsoft Corporation via email indicating that ThroughPuter

was looking for collaborators. The body of the email, which is attached as Exhibit 19, is

reproduced below:




       54.     Dr. Burger responded “Thanks Mark ... I appreciate the note. I’ll forward to the

right people in Azure.” Id.

       55.     In February 2013, the webpage at http://www.throughputer.com/platform.html had

the following content at the time of the email exchange:


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       56.     The PDF entitled Parallel Program Execution in a Dynamically Shared Adaptive

Manycore Processor is a document that closely follows the detailed description of ThroughPuter’s

’090 patent. Exhibit 20.

       57.     The PDF entitled Dynamic Parallel Execution via PaaS is a document that provides

an overview of the innovations described in ThroughPuter’s portfolio of patents and applications

including the application leading to the ’090 patent and the substantial advantages they provide.

Exhibit 21.

       58.     The PDF entitled Parallel Computing Development and Hosting Platform as a

Service is a presentation that provides an overview of ThroughPuter’s DPEE. Exhibit 22. As

shown in one of ThroughPuter’s slides, reproduced below, the cores are dynamically re-assigned

to instances or tasks of different applications, which are coded by color.




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Exhibit 22 at 8.

       59.     Repeatedly, the pool of (sixteen) processing cores are each allocated among the

four different application programs. In an illustrative example, these may be application programs

used for speech translation (blue), encryption (red), search ranking (yellow) and data

compression (green). In the first cycle or period, the search ranking (yellow) application program

is allocated one core while the encryption (red) program application and speech translation (blue)

application program are allocated eight and seven cores, respectively. For the next period, several

of the cores are reassigned to the speech translation (blue) program application to accommodate

an increase in processing demand made by that application. In the third period, a further core is

allocated to the speech translation (blue) program application and the data compression (green)

program application is assigned one core, also in response to demand for those programs. In the



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fourth period, the cores are more evenly allocated across all four applications because the spike in

demand for speech translation has abated, or because of demand spikes of the other applications.

In this way, the processing throughput and latency across all the applications sharing the given

manycore processor array are optimized. The end result for the application programs is faster

processing compared to what would be achievable for equal cost base under non-adaptive capacity

allocation or without on-demand acceleration.

       60.     ThroughPuter’s novel manycore fabric led to industry recognition of ThroughPuter

and its technology. For example, in January 2013, ThroughPuter was invited to publish an article

in the Cloud Computing Journal, discussing the PaaS based on novel manycore fabric. Exhibit 12.

       61.     In addition, in September 2014, Mr. Sandstrom presented at the FPGAworld

conference in Stockholm, Sweden, on the topic of Hardware Implemented Scheduler, Placer,

Inter-Task Communications and IO System Functions for Manycore Processors Dynamically

Shared among Multiple Applications. Exhibit 23.

       62.     By the time of the 2014 FPGAworld conference, ThroughPuter had already been

granted at least a dozen U.S. and United Kingdom patents protecting techniques enabling the

advantages of its Dynamic Parallel Execution Environment™ (DPEE).

       63.     The following year, ThroughPuter was invited to present at the 2015 HPC Advisory

Council Conference in Spain on the topic of executing multiple dynamically parallelized programs

on dynamically shared cloud processors. A copy of the presentation is attached hereto as Exhibit

24.

        MICROSOFT’S INFRINGING CLOUD COMPUTING ARCHITECTURE

       64.     Microsoft’s infringing cloud computing platform is known as Azure which is the

technology service platform accused of infringement herein.




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       65.     In June 2015, Microsoft filed United States Patent Application Serial No.

14/752,800 (the “’800 application”). The corresponding patent is submitted herewith as Exhibit

11.

       66.     Microsoft’s Azure cloud platform includes or has included the functionality

described in the ’800 application.

       67.     In its ’800 application, Microsoft explains that “graphs” or groups of FPGA

processors (each designated with an H) are logically grouped together by a hardware layer fabric

106.

       68.     Each group of processors in Microsoft’s ’800 application can be dynamically

reallocated and reconfigured to different application programs, such as speech translation (blue),

encryption (red), search ranking (yellow) or compression (green), as seen in Microsoft FIG.

15D below).

       69.     These reconfigurations are facilitated by the fact that the fabric provides addresses

1527 that identify the physical locations of each processing unit and the processing group

(“graph”) to which a given processing unit is currently allocated.




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       70.    The reconfigurations are performed, for instance, to accommodate increased

demand for or from tasks of a given application program. In the system disclosed in the ’800

application, service manager 1521 will repeatedly reallocate and reconfigure the processor groups

or “graphs”. In one example, as shown in Fig. 15D below, the service manager reallocates

processor cores that were being used by the encryption (red) application (executed by graph 1503)

to the speech translation (blue) application (executed by graph 1502). Compare Fig. 15C above

with Fig. 15D below.




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Exhibit 11, FIGs. 15C and 15D (annotated)

       71.     For this reallocation, the FPGA processor cores are reconfigured to have the

functionality associated with the tasks being processed by the speech translation (blue)

application or service (executed by graph 1502).

       72.     The service manager simultaneously reallocates FPGA cores from the speech

translation group to accommodate increasing demand for a different processing task, for example

data compression (green, graph 1501) as shown in the illustration above.

       73.     For this reallocation period, the processor groups handling, for example, search

ranking (yellow, graph 1504) are not reallocated.

       74.     As illustrated above, the fabric addresses 1527 are updated to reflect the new

processing core allocations.

       75.     As can be seen in claim 1 of the patent which issued from the ’800 application (U.S.

Patent No. 10,270,709, or the ’709 patent, attached as Exhibit 11), Microsoft claims the

functionality discussed, supra, at paragraphs 67-74.

       76.     On information and belief, Azure currently uses the technology described in its

’709 patent and the Microsoft publications cited herein to manage at least a portion of its Azure

workloads.

       77.     On information and belief, at least a portion of those workloads are handled at one

or more of Microsoft’s data center complexes within this District.

       78.     Claim 1 of the ’709 patent is directed to a system that includes at least two sets of

hardware acceleration components with each one capable of accelerating a different task or service

as well as a processor and memory that maintains the mapping of each physical core address and




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group assignment and reallocates the groupings based on variation in demand for a given group or

core type.

       79.     Microsoft’s application tasks (S) such as search ranking serves the same or

similar purpose as the application tasks 240 in ThroughPuter’s representative ’090 patent,

discussed above. That is, both represent tasks to be performed on a hardware based processing

system.

       80.     Microsoft’s hardware accelerators (H) achieve the same or similar function as the

reconfigurable core slots 120 in ThroughPuter’s representative ’090 patent. That is, both

represent reconfigurable processors on which the tasks can be performed.

       81.     Microsoft’s service managers 1521 (in coordination with the Resource Manager

and the FPGA Managers) perform the same or similar function as the controller 140 and/or the

process 300, in an embodiment of ThroughPuter’s representative ’090 patent, discussed above.

That is, both assign tasks to an allocated group of reconfigurable processors.

       82.     Microsoft’s addresses 1527 serves the same or similar purpose as the mappings

shown in Figure 3 and Tables 4-5 of ThroughPuter’s representative ’090 patent, discussed above.

That is, both provide addresses for the allocated processors to which the tasks are assigned.

       83.     The substantial identity between Microsoft’s ’709 patent and ThroughPuter’s

invention can be further appreciated from a side-by-side comparison of the patent claims granted

to Microsoft and ThroughPuter. The column on the left shows claim 1 of the ’306 patent, which

claims priority to applications dating back to 2012. The column on the right shows the text of

dependent claim 5 (including the limitations of independent claim 1) of Microsoft’s ’709 patent,

which claims priority to an application filed in 2015. As can be appreciated from this side-by-side

comparison, Microsoft obtained a patent on substantially the same technology taught by




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ThroughPuter’s patent applications. However, ThroughPuter’s’306 patent is entitled to a priority

date that is at least three years earlier than Microsoft’s.

 ThroughPuter’s U.S. Patent No. 10,936,306,             Microsoft’s U.S. Patent No. 10,270,709,
 Independent Claim 1                                    Dependent Claim 5 (including the limitations of
                                                        Independent Claim 1)
 A method for task-switching on a multi-user            A method in a data center comprising a plurality
 parallel processing hardware architecture              of servers interconnected via a network, wherein
 comprising a plurality of reconfigurable logic-        each of the plurality of servers comprises at least
 based processing units, the method comprising:         one acceleration component, wherein the at least
                                                        one acceleration component comprises a
                                                        plurality of hardware logic blocks interconnected
                                                        using reconfigurable interconnects, the method
                                                        comprising:

 linking, through a first set of inter-task             linking a first set of acceleration components
 communication paths of the multi-user parallel         corresponding to a first set of the plurality of the
 processing hardware architecture, a first set of       servers into a first graph configured to accelerate
 reconfigurable logic-based processing units of         a first service, wherein each of the first set of
 the plurality of reconfigurable logic-based            acceleration components is programmed to
 processing units into a first multi-stage program      perform any of a first set of roles corresponding
 instance configured to execute a corresponding         to the first service;
 set of interdependent processing stages of a first
 program, wherein each of the first set of
 reconfigurable logic-based processing units is
 programmed to perform a respective task of a
 plurality of first tasks of the first program
 corresponding to a respective processing stage
 of the first multi-stage program instance;

 linking, through a second set of inter-task            linking a second set of acceleration components
 communication paths of the multi-user parallel         corresponding to a second set of the plurality of
 processing hardware architecture, a second set         the servers into a second graph configured to
 of reconfigurable logic-based processing units         accelerate a second service, different from the
 of the plurality of reconfigurable logic-based         first service, wherein each of the second set of
 processing units into a second multi-stage             acceleration components is programmed to
 program instance configured to execute a               perform any of a second set of roles
 corresponding set of interdependent processing         corresponding to the second service;
 stages of a second program, wherein each of the
 second set of reconfigurable logic-based
 processing units is programmed to perform a
 respective task of a plurality of second tasks of
 the second program corresponding to a
 respective processing stage of the second multi-
 stage program instance;


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maintaining, in a storage, a first location for a      maintaining in a storage a first address for the
first reconfigurable logic-based processing unit       first graph such that the first service can request
of the first set of reconfigurable logic-based         hardware acceleration from the first set of
processing units executing the first multi-stage       acceleration components;
program instance such that a first one or more
users and/or programs are enabled to
communicate directly with the first multi-stage
program instance;

maintaining, in the storage, a second location         maintaining in the storage a second address for
for a second reconfigurable logic-based                the second graph such that the second service
processing unit of the second set of                   can request hardware acceleration form the
reconfigurable logic-based processing units            second set of acceleration components; and
executing the second multi-stage program
instance such that a second one or more users
and/or programs are enabled to communicate
directly with the second multi-stage program
instance; and

in response to an increased demand for the             in response to an increased demand for hardware
second program, reallocating, by a controller          acceleration from the second graph, based on an
comprising software and/or hardware logic              allocation policy, a service manager comprising
configured to implement a load-adaptive                computer-executable instructions:
allocation policy, at least one processing unit of
the first set of reconfigurable logic-based
processing units, the reallocating resulting in

(1) switching the at least one of the first set of     (1) switching, using configuration data and
processing units from performing a task of the         without loading a new image file, at least one of
plurality of first tasks to performing one task of     the first set of acceleration components from
the plurality of second tasks, wherein switching       performing any of the first set of roles to
comprises matching a first programming                 performing any of the second set of roles, and
configuration of the at least one of the first set
of processing units to a programming
configuration demanded by the one task, and

(2) adjusting, in storage, at least one of the first   (2) adjusting at least one of the first address or
location or the second location to enable,             the second address
through the respective location, direct
communication to the other multi-stage
program instance of the first multi-stage
program instance or the second multi-stage
program instance;




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 wherein the load-adaptive allocation policy is        wherein each of the first set of acceleration
 configured to facilitate minimizing                   components and the second set of acceleration
 reconfiguring the plurality of reconfigurable         components is included in a hardware plane, and
 logic-based processing units.                         wherein the allocation policy is configured to
                                                       facilitate minimizing switching of roles among
                                                       acceleration components in the hardware plane.


       84.     On information and belief, Microsoft believed at the time of filing and still believes

that the subject matter claimed in the ’709 patent is patent eligible under 35 U.S.C. § 101.

       85.     On information and belief, Microsoft believed at the time of filing and still believes

that this subject matter is novel under 35 U.S.C. § 102 in view of the references disclosed to and

considered by the United States Patent & Trademark Office (“USPTO”) during examination of

their ’800 application.

       86.     On information and belief, Microsoft believed at the time of filing and still believes

that this subject matter is non-obvious under 35 U.S.C. § 103 in view of the references Microsoft

disclosed to and considered by the USPTO during examination of their ’800 application.

       87.     In 2016, Microsoft published a paper entitled A Cloud-Scale Acceleration

Architecture authored by, among others, Adrian Caulfield (hereafter “Cloud-Scale Acceleration

Architecture”). Exhibit 10.

       88.     Microsoft Azure includes or has included the functionality as described in Cloud-

Scale Acceleration Architecture.

       89.     In Cloud-Scale Acceleration Architecture, Microsoft described a configurable core

fabric similar to the configurable core fabric described in Microsoft’s ’800 application.

       90.     Fig. 13 of Cloud-Scale Acceleration Architecture illustrates a Resource Manager

(RM) that, together with the Service (SM) and the FPGA Managers (FM), performs the same or

similar function as the service manager 1521 described in Microsoft’s ’800 application.




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Exhibit 10, Fig. 13.

       91.     Each Service Manager (SM) described in Cloud-Scale Acceleration Architecture is

associated with a given, dynamically sized and placed, FPGA processor group, each of which is

referred to as a “service instance” in Cloud-Scale Acceleration Architecture.

       92.     Cloud-Scale Acceleration Architecture uses the phrase “service instance” to refer

to the same or similar concept as the term “graph” in the ’800 application.

       93.     Cloud-Scale Acceleration Architecture states that the functionality described

therein is used to “accelerate . . . Azure infrastructure workloads,” among other use cases. Exhibit

10 at 13.

       94.     Microsoft’s presentation entitled Inside Microsoft’s FPGA-Based Configurable

Cloud (Exhibit 15) demonstrates that Azure embodies or has embodied the functionality described




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in Cloud-Scale Acceleration Architecture (Exhibit 10) and the Microsoft ’709 patent (Exhibit 11).

       95.     As explained in the presentation, Microsoft Azure is a system comprised of a

number of FPGA-accelerated servers, which process tasks from multiple application programs

involving a controller that allocates FPGA processors from among a number of FPGA processors

and then assigns application tasks to FPGA processors in order to pursue accelerated application

processing while seeking efficient processing capacity usage.

       96.     A transcript and corresponding screenshots of Microsoft’s presentation entitled

Inside Microsoft’s FPGA-Based Configurable Cloud are attached as Exhibit 15. The video is

available at https://www.youtube.com/watch?v=v_4Ap1bjwgs.




       97.     Microsoft Azure’s RM interfaces with the Azure controller (AC) that applies

policies to the data packets transmitted to and from the processors within Azure. Exhibit 15 at 39-

42. The RM configures a hardware switch to execute the policies set forth in the hardware access

control lists (ACLs), which list grant access rights to a given application program. Id.


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         98.    Under the direction of the AC, load balancing rules are practiced to pursue

optimization of processing capacity by defining how tasks are distributed to FPGA Virtual

Machines (e.g., FPGA groupings or graphs in the parlance of Microsoft’s ’709 patent) (hereafter

“FPGA Groupings”). Exhibit 15 at 43-50.

         99.    The AC instructs the fabric how to route each data packet associated with an

application program or service instance task to a given processor based on the type of task to be

performed and the available processing capacity on the Azure resource pool. The AC sets up load

balancing rules in the load balancing control table (LB NAT) and pushes them out to all servers

hosting FPGA Groupings.

         100.   Under the direction of the AC, Microsoft Azure’s physical switch connects directly

to the network interface cards (NICs) to route packets (e.g., messages) to application or service

instance tasks running on the FPGA Grouping. Exhibit 15 at 54-57. Each FPGA Grouping

consists of several FPGA processors operating in a coordinated fashion under the control of the

RM in conjunction with an SM, and a FPGA Manager or Node Manager (FM), as explained further

below.




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       101.   The FPGA processors are reconfigured to perform various functions for different

application programs. See, e.g., Exhibit 15 at 19-24, 54. As explained further below, the FPGA

processors are dynamically reconfigured to be suited for a given task (e.g., deep neural network

(DNN) application tasks, SQL database tasks, and so on).




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       102.    As shown in the above figure, an Azure Server includes an FPGA, a NIC, and a

CPU. The FPGA is connected with the NIC and CPU, and the Azure Server is connected to other

Azure Servers through a network, constituting a fabric of pooled FPGA accelerators. In an

implementation disclosed in Fig. 8 in the ’709 patent, an Azure Server includes an FPGA

subdivided into separate configurable domains. In this implementation, the separate configurable

domains are locally connected to each other through on-chip/on-board hardware. This forms a

fabric of accelerator units that may be, at least in part, internal to a subdivided FPGA (hereafter

the fabrics referred to in this paragraph are referred to as “Azure Fabric”).

       103.    The FPGA processors are arranged in groups to execute tasks associated with

various application programs. Exhibit 15 at 93-98. For example, one FPGA service instance or

graph, e.g., an FPGA Grouping, (the blue rectangle with downwardly projecting triangle) executes

deep neural network (DNN) application tasks. Id. Another executes SQL database tasks, yet

another executes network protocol offload tasks, and the last executes web search ranking tasks.

Each FPGA Grouping includes several individual FPGA processors (illustrated as blue ovals in



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the “hardware acceleration plane”).




       104.   In this manner, the AC repeatedly and dynamically rearranges task assignment to

the array of processing units (e.g., FPGA processors) while rearranging communication path

connectivity for the array of processing units to optimize the application processing performance

as well as the usage of processing capacity on the Azure system. Exhibit 15 at 95-99. The FPGA

Groupings (and thus the associated connectivity) changes over time in reaction to the processing

demand of the various application programs.




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       105.    Microsoft is now using this FPGA fabric architecture in every new server it deploys

in its data centers. Exhibit 28 at 8. Using this architecture, Microsoft obtained 40-100 fold

performance improvements in Microsoft Bing’s machine learning algorithms. Id. Microsoft has

also announced the availability of Brainwave, an FPGA-based system for ultra-low latency deep

learning for Azure. Id.

       106.    Using this architecture, Microsoft claims up to a 150-200 fold improvement in data

processing throughput and up to a 50 fold improvement in energy efficiency. Exhibit 15 at 91,

Exhibit 29. Latency has also lowered by about a factor of 10. Exhibit 15 at 86, Exhibit 29.

       107.    In Azure, the RM works in conjunction with both (a) the FM on each host

processing unit, which keeps track of resource allocations on the FPGA processors, and (b) the

SM, which assigns computing tasks to the FPGA processors. Exhibit 15 at 103-06.

       108.    In the implementation illustrated below, an SM in conjunction with the RM assigns

one grouping of computing tasks of a ranking service application program (e.g., Bing) to the FPGA


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processors that have been allocated. Another grouping of FPGA processors is performing tasks

for the Azure Data Link Analytics (ADLA) application, with those tasks having been assigned by

another SM in conjunction with the RM, and so forth. In this way, the RM, SM and FMs ensure

that each FPGA processor is receiving data from the appropriate queue and executing a task

corresponding to the proper application. The RM, SM and FMs also ensure that the output of each

FPGA accelerator is communicated to the proper output queue. The load balancing table is utilized

to allocate application loads among FPGA processors and FPGAs among loads in order to pursue

optimal usage of available processing capacity. In the illustrated example, the Ranking Service is

expressing higher processing demand and/or has higher prioritization resulting in it getting

allocated four FPGA cores and/or FPGA Groupings, compared with e.g., ADLA that is assigned

two FPGA accelerators.




Exhibit 15 at 104.

       109.    Azure’s queuing of data as it moves between memories and the FPGA processors


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is or has been accordant to descriptions in Microsoft’s United States Patent No. 10,296,392 (“the

’392 patent”). Exhibit 16.

       110.    On information and belief, Microsoft Azure embodies or has embodied the

functionality substantially as described in the ‘392 patent.

       111.    In connection with Fig. 38 (excerpted below), the ‘392 patent explains that different

application programs such as a French language search engine, an English language search engine,

and a German language search engine may have dedicated input buffers Model Queue 1, Model

Queue 2 and Model Queue 3, respectively. Exhibit 16 at 34:62-35:34; see also Fig. 38. Data is

fed from the queues to the FPGA processors based on policies such as queue fullness. Id.

Generally, the queue manager (in coordination with at least the SM) will prioritize the processing

of queries in the queue with the most queries. As an example, shown below, Model 1 Queue has

queued four queries (R1, R4, R8 and R9) where Model 2 and Model 3 Queues have queued three

queries. As such, Model 1 Queue would be prioritized above the other two.

       112.    On information and belief, Azure uses such queues to manage the transmission of

data to, from and/or within the FPGA processors.




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       113.    The distribution of tasks among the FPGA processors in Azure by the SM, RM,

and FMs is also substantially described in the ’392 patent.

       114.    In operations 1-6 illustrated in Fig. 2 of the ’392 patent, each hardware acceleration

component 208/210 (which may be an FPGA or a subdivision thereof) performs a task on the data

and forwards the result to the next destination under the management of the head component of

the FPGA Grouping (also referred to as the SM). The ’392 patent further explains in connection

with Fig. 36 that each acceleration component performs its respective function, such as

mathematically combining feature values or compressing the data reflecting the feature values

computed thus far.




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       115.    The scheduling and placement of tasks by Azure through the RM, SMs, and FMs

is done taking into consideration a given task’s readiness for execution. Exhibit 16 at 35:20-25;

Exhibit 17 at pp. 287-88.

       116.    On information and belief, Azure embodies or has embodied the technology

described in Exhibit 17.

       117.    Microsoft Azure also supports assured resource allocations for a client’s FPGA

Grouping for an additional fee. See Exhibit 18 at p. 3. Azure allocates FPGA processors based in

part on the number of FPGA Groupings subscribed to by the client for its applications.

       118.    The foregoing functionality is further described in the Microsoft Azure

documentation submitted herewith as Exhibits 12-14.




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                             MICROSOFT’S KNOWLEDGE OF
                            THROUGHPUTER AND ITS PATENTS

       119.    Starting in 2011, ThroughPuter has invested in development and patent protection

of its intellectual property consistently, in order to protect the competitive advantage to which it is

entitled under the law as the inventor of the technology at issue in this case. Recognizing the

promise of its technology and the benefits it could provide to Microsoft, ThroughPuter made

consistent overtures to Microsoft in an effort to collaborate.

       120.    For example, as discussed above, starting in 2013, Mr. Sandstrom corresponded

with Microsoft’s Director of Client and Cloud Applications (Dr. Burger: a named inventor on the

’709 patent) and others on Microsoft’s cloud computing team concerning a potential collaboration

between ThroughPuter and Microsoft. Exhibit 19.

       121.    At least through that correspondence, and no later than February 2013, Microsoft’s

cloud computing team was apprised of the technical details of ThroughPuter’s Dynamic Parallel

Execution Environment™ (DPEE).

       122.    At least through that correspondence, and no later than February 2013, Mr.

Sandstrom provided Microsoft’s cloud computing team a copy of the DPEE system description

that corresponds with the preferred embodiments disclosed in ThroughPuter’s ’090 patent. See

Exhibit 20.

       123.    From 2013 through 2016, ThroughPuter’s President Mr. Sandstrom continued to

correspond with Microsoft’s cloud computing team concerning a potential collaboration between

Microsoft and ThroughPuter.

       124.    On information and belief, Microsoft was made fully aware of the patent

applications that issued as the ’090 and ’833 patents, starting at least as early as 2015.




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       125.    In correspondence sent in 2015—to which Microsoft responded—ThroughPuter

informed Microsoft of ThroughPuter’s patent applications leading to the ’090 and ’833 patents, as

well as the Provisional Patent Application No. 61/934,747 providing comprehensive technical

description for a reference implementation of the DPEE based manycore processor array

technology. See, e.g., Exhibit 32.

       126.    For example, in correspondence dated May 12, 2015, in response to a

communication from ThroughPuter advising Microsoft of the patent applications that matured into

the ’090 and ’833 patents, Dr. Burger stated that he had “forwarded [ThroughPuter’s] note onto

the relevant people looking at any IP and they will contact you directly if interested. Doug.”

Exhibit 30.

       127.    Shortly thereafter Microsoft filed its ’800 application (on June 26, 2015) naming

Dr. Burger, to whom Mr. Sandstrom disclosed ThroughPuter’s technology, as an inventor.

Following the filing of that application, the leader of Microsoft’s cloud computing team declined

ThroughPuter’s offers for collaboration, saying in an August 3, 2015 email to Mr. Sandstrom: “I

don’t think we can proceed … we already have our plates very full. Thanks and best wishes.”

Exhibit 32.

       128.    Thereafter, Mr. Sandstrom reminded Microsoft several times that the solution he

shared was the subject of several U.S. and foreign patents.

       129.    In 2015, Mr. Sandstrom had a discussion with Microsoft representative, Dr. Derek

Chiou, during which conversation, Dr. Chiou made clear that despite Microsoft’s knowledge of

ThroughPuter’s technology and its patent protection, Microsoft would not be willing to explore

any business relationship with ThroughPuter, including with respect to ThroughPuter’s intellectual

property rights.




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       130.    On May 16, 2016, Mr. Sandstrom informed Arun Justus at Microsoft that

“ThroughPuter owns the IP rights for the key techniques that will be necessary in realizing any

scalable solution for this must-solve challenge.” Exhibit 33.

       131.    In addition, on May 19, 2016, Mr. Sandstrom wrote Aki Siponen at Microsoft:

“[All] cloud service providers will be facing the fundamental scalability solution . . . and

ThroughPuter holds the key patented techniques that will be needed in delivering an effective

solution to this must-solve challenge.” Id.

       132.    On May 17, 2017, via a LinkedIn message, Mr. Sandstrom provided notice to Dr.

Burger of the issuance of the ’833 and ’090 patents, asserted herein under Counts 8 and 9. In

response to Mr. Sandstrom’s message, Dr. Burger, stated “Thanks Mark, appreciate the nice

message and will definitely review.”

       133.    In a 2017 Microsoft Research publication titled “The Feniks FPGA Operating

System for Cloud Computing,” Microsoft describes its experimental development of FPGA

processors with a hardware based operating system in highly similar terms as ThroughPuter in the

above-referenced, earlier patent disclosures as well as publications such as the one presented by

Mr. Sandstrom at FPGAworld in 2014. Compare e.g., Exhibit 23 with Exhibit 25.

       134.    In that 2017 publication, Dr. Chiou is credited with the “initial exploration which

provides valuable experience for the system design.” (Exhibit 25 at p. 7, Acknowledgement). Dr.

Chiou is the same individual with whom ThroughPuter spoke in 2015 after Microsoft had

acknowledged ThroughPuter’s technology and its patent protection.

       135.    On January 2, 2018, Mr. Sandstrom sent a letter (the “January 2018 letter”) to Kevin

Scott, Chief Technology Officer of Microsoft Corporation, informing Microsoft of the existence

of the ’833 patent and other assets in ThroughPuter’s patent portfolio, and that ThroughPuter had,




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at that time when it was lacking funds for commercialization of its technologies, “preference to

sell the patents and the technology directly to an operating corporation such that enforcement of

Throughputer’s intellectual property does not become necessary.”

       136.    On September 1, 2018, outside patent counsel for ThroughPuter sent Microsoft

Chairman John W. Thompson a letter (“the September 2018 letter”) offering Microsoft the

opportunity to license or acquire “ThroughPuter’s Dynamic Parallel Execution (DPE) technology,

protected by a portfolio of forty-eight (48) patents issued and pending worldwide ….”. The

September 2018 letter further explained that to the extent Microsoft’s current or planned products

were built on certain cloud and enterprise computing technologies, “Microsoft needs to obtain a

license from ThroughPuter for continued as well as planned future usage of [ThroughPuter’s]

patents ….”.

       137.    The September 2018 letter specifically brought to Microsoft’s attention “claims 19

and 34 of U.S. Patent No. 9,632,833, claims 1 and 9 of U.S. Patent No. 9,424,090, and claims 1,

12 and 22 of U.S. Patent No. 10,061,615, along with a number of the patents’ dependent claims,”

further noting “two Track 1 (expedited) patent applications, U.S. application serial nos. 16/014,658

and 16/014,674, each of which has received a notice of allowance.”

       138.    On September 1, 2018, ThroughPuter’s outside patent counsel sent the same letter

referred to in the preceding paragraph to Microsoft’s then-General Counsel.

       139.    Microsoft did not respond to any of the letters referred to in the four preceding

paragraphs.

       140.    Microsoft has not communicated with ThroughPuter since ThroughPuter advised

Microsoft of the existence of U.S. Patent Nos. 9,424,090 and 9,632,833 in May 2017, which

patents claim priority to patent applications filed in 2012.




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           141.   On information and belief, Microsoft cut off communication with ThroughPuter in

or around May 2017 because Microsoft realized that ThroughPuter had been issued patents with

earlier priority dates on the technology approach underlying the Microsoft Azure PaaS and its

development plans.

           142.   On information and belief, Dr. Burger and Microsoft’s other personnel were

instructed to stop communicating with ThroughPuter because Microsoft recognized the similarities

between ThroughPuter’s patent protected technology and the execution layer of the Azure PaaS

and its development plans.

           143.   Rather than respect ThroughPuter’s intellectual property rights, Microsoft made,

upon information and belief, the deliberate decision to infringe ThroughPuter’s patents. This

conscious decision prevents ThroughPuter from being able to compete in the cloud computing

space all while Microsoft used the enabling ThroughPuter technology to scale up the world’s

largest cloud-computing platform. ThroughPuter’s patented technology allows Microsoft to claim

up to 200-fold technical performance gains.

           144.   Microsoft recognized the novelty of ThroughPuter’s technology by attempting to

claim ThroughPuter’s technology as its own. Specifically, as discussed herein, Microsoft sought

and obtained patent protection on the fundamental technologies invented by ThroughPuter years

earlier.

           145.   During the pendency of the patent application that matured into the ’709 patent,

Microsoft disclosed to the USPTO over two hundred fifty (250) documents that Microsoft

represented as possible “prior art” to its alleged invention, but failed to disclose any information

concerning ThroughPuter or its patents to the USPTO despite knowledge of the same.




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       146.    During prosecution of Microsoft’s ’709 patent, Microsoft did not disclose to the

USPTO ThroughPuter’s ’090 patent.

       147.    During prosecution of Microsoft’s ’709 patent, Microsoft did not disclose to the

USPTO ThroughPuter’s ’833 patent.

       148.    During prosecution of Microsoft’s ‘709 patent, Microsoft did not disclose to the

USPTO any of the other ThroughPuter patent assets referenced in the materials provided to

Microsoft by ThroughPuter.

       149.    During prosecution of Microsoft’s ’709 patent, Microsoft did not disclose to the

USPTO any information concerning ThroughPuter or its DPEE technology.

       150.    To date, Microsoft has not disclosed to the USPTO in connection with any

Microsoft patent application related to Azure any information concerning ThroughPuter or its

DPEE, etc. technologies.

       151.    On information and belief, Microsoft was aware since at least 2017 that its Azure

platform infringed ThroughPuter’s patents, including the ’090 and ’833 patents.

       152.    Despite this knowledge, Microsoft has made the deliberate choice to refuse any

business arrangement or resolution with ThroughPuter, opting instead to infringe ThroughPuter’s

patents, thereby preventing ThroughPuter from competing in the market ThroughPuter’s

technology has enabled.

       153.    On information and belief, Microsoft’s infringement has been continuous,

deliberate and in willful disregard of ThroughPuter’s patent rights, including the ’090 and ’833

patents and the other patents identified in ThroughPuter’s letters to Microsoft.




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                                           COUNT 1
                          (Infringement of U.S. Patent No. 10,963,306)

       154.    ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

       155.    On March 30, 2021, the United States Patent and Trademark Office duly and legally

issued the ’306 patent, entitled “Managing Resource Sharing in a Multi-Core Data Processing

Fabric.” A copy of the ’306 patent is attached as Exhibit 1.

       156.    Mark Sandstrom is the sole and true inventor of the ’306 patent.

       157.    ThroughPuter, Inc. owns all right, title and interest to and in the ’306 patent.

       158.    Microsoft infringes at least claims 1 and 4-7 of the ’306 patent.

       159.    As demonstrated above in side-by-side comparison, claim 1 of ThroughPuter’s

’306 patent closely matches the claims of Microsoft’s ’709 patent. In other words, Microsoft later

attempted to patent, and did obtain a patent on, the technology described by ThroughPuter’s ’306

patent disclosures, which were filed at least three years before the Microsoft ’709 patent disclosure.

       160.    Claim 1 of the ’306 patent is representative of the claims infringed by Microsoft

and recites:

               1. A method for task-switching on a multi-user parallel processing hardware
                     architecture comprising a plurality of reconfigurable logic-based processing
                     units, the method comprising:

               linking, through a first set of inter-task communication paths of the multi-user
                       parallel processing hardware architecture, a first set of reconfigurable logic-
                       based processing units of the plurality of reconfigurable logic-based
                       processing units into a first multi-stage program instance configured to
                       execute a corresponding set of interdependent processing stages of a first
                       program, wherein each of the first set of reconfigurable logic-based
                       processing units is programmed to perform a respective task of a plurality
                       of first tasks of the first program corresponding to a respective processing
                       stage of the first multi-stage program instance;

               linking, through a second set of inter-task communication paths of the multi-user
                       parallel processing hardware architecture, a second set of reconfigurable


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                       logic-based processing units of the plurality of reconfigurable logic-based
                       processing units into a second multi-stage program instance configured to
                       execute a corresponding set of interdependent processing stages of a second
                       program, wherein each of the second set of reconfigurable logic-based
                       processing units is programmed to perform a respective task of a plurality
                       of second tasks of the second program corresponding to a respective
                       processing stage of the second multi-stage program instance;

               maintaining, in a storage, a first location for a first reconfigurable logic-based
                      processing unit of the first set of reconfigurable logic-based processing units
                      executing the first multi-stage program instance such that a first one or more
                      users and/or programs are enabled to communicate directly with the first
                      multi-stage program instance;

               maintaining, in the storage, a second location for a second reconfigurable logic-
                      based processing unit of the second set of reconfigurable logic-based
                      processing units executing the second multi-stage program instance such
                      that a second one or more users and/or programs are enabled to
                      communicate directly with the second multi-stage program instance; and

               in response to an increased demand for the second program, reallocating, by a
                      controller comprising software and/or hardware logic configured to
                      implement a load-adaptive allocation policy, at least one processing unit of
                      the first set of reconfigurable logic-based processing units, the reallocating
                      resulting in

               (1) switching the at least one of the first set of processing units from performing a
                       task of the plurality of first tasks to performing one task of the plurality of
                       second tasks, wherein switching comprises matching a first programming
                       configuration of the at least one of the first set of processing units to a
                       programming configuration demanded by the one task, and

               (2) adjusting, in storage, at least one of the first location or the second location to
                       enable, through the respective location, direct communication to the other
                       multi-stage program instance of the first multi-stage program instance or
                       the second multi-stage program instance;

               wherein the load-adaptive allocation policy is configured to facilitate minimizing
                      reconfiguring the plurality of reconfigurable logic-based processing units.


       161.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’306 patent.




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       1. A method for task-switching on a multi-user parallel processing hardware
       architecture comprising a plurality of reconfigurable logic-based processing units, the
       method comprising:

       162.    The Microsoft Azure cloud platform (hereinafter, “Azure”) manages execution of

a plurality of software application tasks on an array of reconfigurable logic-based processing units

shared amongst multiple client programs. Azure is configured to, and Microsoft uses Azure to,

switch application tasks across multiple processors within a group of processors.

       163.    At least the Azure Controller (AC) in conjunction with Resource Manager (RM),

Service Managers (SM), and FPGA Managers (FM), is used to manage the assignment of

computing cores across multiple applications and multiple application tasks running, for instance,

on multiple computing cores such as CPUs, GPUs and/or FPGA processors.


       linking, through a first set of inter-task communication paths of the multi-user parallel
       processing hardware architecture, a first set of reconfigurable logic-based processing
       units of the plurality of reconfigurable logic-based processing units into a first multi-
       stage program instance configured to execute a corresponding set of interdependent
       processing stages of a first program, wherein each of the first set of reconfigurable logic-
       based processing units is programmed to perform a respective task of a plurality of first
       tasks of the first program corresponding to a respective processing stage of the first
       multi-stage program instance;

       164.    Azure links, through a first set of inter-task communication paths of the multi-user

parallel processing architecture, a first set of reconfigurable logic-based processing units of the

plurality of reconfigurable logic-based processing units into a first multi-stage program instance

configured to execute a corresponding set of interdependent processing stages of a first program.

In Azure, each of the first set of reconfigurable logic-based processing units is programmed to

perform a respective task of a plurality of first tasks of the first program corresponding to a

respective processing stage of the first multi-stage program instance.

       165.    As described in Microsoft’s ’709 patent, the reconfigurable processing units




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(acceleration components) are dynamically connected through hardware based communication

paths that include a dedicated three port switch that works in coordination with the bypass control,

multiplexers (connected to FIFO buffers 714, 716), the TOR interface, and TOR switch.




Exhibit 11, FIG. 7.

       166.    Azure’s SM, in coordination with the RM and FM, assigns groups of reconfigurable

processing units such that some of the processing groups collectively execute a multi-stage

program instance (e.g., linking a set of processors to a multi-stage program instance) and individual

processing units of an FPGA Grouping perform a single task associated with a stage of the multiple

stage program instance.      As illustrated by Fig. 5 of Microsoft’s ’709 patent, individual

reconfigurable processing units (acceleration components H) perform their respective tasks

corresponding to one of the stages and then communicates the results to the next processing unit


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H, before the service or “graph” comprising said accelerators H outputs the result to the calling

processing unit S.




Exhibit 11, FIG. 5.

       linking, through a second set of inter-task communication paths of the multi-user
       parallel processing hardware architecture, a second set of reconfigurable logic-based
       processing units of the plurality of reconfigurable logic-based processing units into a
       second multi-stage program instance configured to execute a corresponding set of
       interdependent processing stages of a second program, wherein each of the second set
       of reconfigurable logic-based processing units is programmed to perform a respective
       task of a plurality of second tasks of the second program corresponding to a respective
       processing stage of the second multi-stage program instance;

       167.    Azure links through a second set of inter-task communication paths of the multi-

user parallel processing hardware architecture, a second set of reconfigurable logic-based

processing units of the plurality of reconfigurable logic-based processing units into a second multi-

stage program instance configured to execute a corresponding set of interdependent processing

stages of a second program. In Azure, each of the second set of reconfigurable logic-based

processing units is programmed to perform a respective task of a plurality of second tasks of the


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second program corresponding to a respective processing stage of the second multi-stage program

instance.

       168.    Azure’s AC works in conjunction with the RM, SMs, and FM to repeat the basic

process described immediately above to assign a set of tasks of a second multi-stage program

instance to a second group of reconfigurable processors. This is illustrated in Microsoft’s ’709

patent, which shows that different groups of reconfigurable processors H execute different tasks

of a different multi-stage program instance during a given time period, shown in different colors

in the annotated version of Fig. 15C below. During a subsequent time period, the arrangement of

processors H has been reconfigured such that different sets of processors are performing the

respective tasks, shown in different colors in the annotated version of Fig. 15D below.




       169.    The inter-task communication pathways between processing units vary between

FPGA groups as well as over allocation time intervals, including because those groups (for

instance graph 1503 and 1504) include different processing units H and because the same

processing group (for instance graph 1502) includes varying processing units over time.




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       maintaining, in a storage, a first location for a first reconfigurable logic-based
       processing unit of the first set of reconfigurable logic-based processing units executing
       the first multi-stage program instance such that a first one or more users and/or
       programs are enabled to communicate directly with the first multi-stage program
       instance

       170.    Azure maintains, in a storage, a first location for a first reconfigurable logic-based

processing unit of the first set of reconfigurable logic-based processing units executing the first

multi-stage program instance such that a first one or more users and/or programs are enabled to

communicate directly with the first multi-stage program instance.

       171.    Azure’s RM and AC work in conjunction with at least the SMs to keep track of the

addresses of each separately addressable FPGA processor group and maintain them in a storage

that is accessible by the AC. According to Microsoft’s ’709 patent and as illustrated in Figs. 15C

and 15D below, the service manager 1521 (which corresponds to the RM) stores addresses 1527-

1528 for graphs 1502-1504 in storage 1541.




       172.    In Azure, client programs can communicate with the FPGA processor groups

directly, which allow the client programs to communicate with the multi-stage program instance,

including by contacting the RM and requesting that data be sent to a FPGA processor group and

by receiving data output from a FPGA processor group. According to Microsoft’s ’709 patent,

“[a]ddresses 1527, 1528, etc. stored in storage 1541 can be used to direct requests for acceleration



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to the appropriate graphs.” Exhibit 11 at 19:57-59.

       maintaining, in the storage, a second location for a second reconfigurable logic-based
       processing unit of the second set of reconfigurable logic-based processing units
       executing the second multi-stage program instance such that a second one or more users
       and/or programs are enabled to communicate directly with the second multi-stage
       program instance; and
       173.    Azure maintains in the storage, a second location for a second reconfigurable logic-

based processing unit of the second set of reconfigurable logic-based processing units executing

the second multi-stage program instance such that a second one or more users and/or programs are

enabled to communicate directly with the second multi-stage program instance.

       174.    In Azure, the aforementioned processor group address storage and access

functionality applies to and exists for each of the multiple FPGA processor groups or graphs.

       in response to an increased demand for the second program, reallocating, by a controller
       comprising software and/or hardware logic configured to implement a load-adaptive
       allocation policy, at least one processing unit of the first set of reconfigurable logic-based
       processing units, the reallocating resulting in

       175.    In response to an increased demand for the second program, Azure reallocates by a

controller comprising software and/or hardware logic configured to implement a load-adaptive

allocation policy, at least one processing unit of the first set of reconfigurable logic-based

processing units.

       176.    Azure’s RM and AC work in conjunction with at least the SMs to reallocate

processors among the processor groups. According to Microsoft’s ’709 patent and as illustrated

in Figs. 15C-D annotated below, the service manager 1521 coordinates the reallocation of the

processors in graph 1503 to graph 1502.




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       177.    In Azure, this is done in response to a change in demand expressed by the

application programs and/or their respective tasks, for instance by the accumulation of data at the

input buffer for an application program and/or task. According to Microsoft’s ’709 patent,

“[a]cceleration components [i.e., reconfigurable processing units H] can be allocated in a manner

that balances load in a hardware acceleration plane, minimizes role switching, and adapts to

demand changes.” Exhibit 11 at Abstract.         The ’709 patent further explains that “[d]uring

continued monitoring, service manager 1521 can detect an increased demand for graph 1502.

Based on the current allocation of acceleration components in hardware plane 106 and in view of

allocation policy 1526, service manager 1521 can (re)allocate acceleration components to meet the

increased demand for graph 1502.” Exhibit 11 at 19:60-65.

       (1) switching the at least one of the first set of processing units from performing a task
       of the plurality of first tasks to performing one task of the plurality of second tasks,
       wherein switching comprises matching a first programming configuration of the at least
       one of the first set of processing units to a programming configuration demanded by the
       one task, and,

       178.    Azure switches the at least one of the first set of processing units from performing

a task of the plurality of first tasks to performing one task of the plurality of second tasks, wherein

switching comprises matching a first programming configuration of the at least one of the first set



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of processing units to a programming configuration demanded by the one task.

       179.    Azure’s RM and AC work in conjunction with at least the SMs to reallocate and

accelerate processors among the accelerator groups such that the need to reconfigure the

accelerator logic blocks is minimized. For example, consider the situation in which a first calling

application (e.g., encryption) and a second calling application (e.g., data compression) both

preferentially request or require the same type of math function accelerator processor. In Azure,

when the data compression application expresses increased demand for processing units relative

to the encryption application, the RM and AC work in connection with the SMs to ensure that an

accelerator logic block (from the encryption service) that is already configured to function as the

math function accelerator is added to the data compression group instead of, e.g., a logic block

presently configured to function as a search ranking accelerator. This reduces the need to

reconfigure the accelerator logic blocks, which would take additional time and impede overall

efficiency.

       180.    This functionality is described in Microsoft’s ’709 patent: “Configuration data can

[be] used to switch between roles (or otherwise change behavior) at an acceleration component

using the same underlying image [i.e., processor configuration]. As such, roles (or other behavior)

can be changed without having to load a new image file.” Exhibit 11 at 20:26-30.

       2) adjusting, in storage, at least one of the first location or the second location to enable,
       through the respective location, direct communication to the other multi-stage program
       instance of the first multi-stage program instance or the second multi-stage program
       instance,

       181.    Microsoft adjusts in storage, at least one of the first location or the second location

to enable, through the respective location, direct communication to the other multi-stage program

instance of the first multi-stage program instance or the second multi-stage program instance.

       182.    As discussed above, Azure’s RM and AC work in conjunction with at least the SMs


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to keep track of the addresses of each separately addressable processing group and record them in

a storage that is accessible by the AC. As processing groups are modified in the manner depicted

in Figs. 15C-D of Microsoft’s ’709 patent (annotated below), their corresponding addresses 1527-

28 are updated in storage 1541.




          183.   According to Microsoft’s ’709 patent, “[t]he service manager maintains [i.e., keeps

updated] an address for the graph so that the service can request hardware acceleration from the

group of interoperating acceleration components.” Exhibit 11 at 1:44-47.

          184.   As discussed above, and as illustrated by Fig. 5 of Microsoft’s ’709 patent, in Azure

each reconfigurable processing unit (acceleration component H) performs a task corresponding to

one of the stages and then directly communicates the results to the next processing unit H, before

the service or “graph” comprising said accelerators H outputs the result to the calling processing

unit S.




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       wherein the load-adaptive allocation policy is configured to facilitate minimizing
       reconfiguring the plurality of reconfigurable logic-based processing units.


       185.    In Azure, the load-adaptive allocation policy is configured to facilitate minimizing

reconfiguring the plurality of reconfigurable logic-based processing units.

       186.    As discussed above, Azure’s RM and AC work in conjunction with at least the SMs

to reallocate and reassign accelerator processors among the accelerator groups such that the need

to reconfigure the accelerator logic blocks is minimized. For example, consider the situation in

which a first calling application (e.g., encryption) and a second calling application (e.g., data

compression) both preferentially request or require the same type of math function accelerator

processor. In Azure, when the data compression application expresses increased demand for

processing units relative to the encryption application, the RM and AC work in connection with

the SMs to ensure that an accelerator logic block (from the encryption service) that is already

configured to function as the demanded math accelerator is added to the data compression group




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instead of, e.g., a logic block presently configured to function as a search ranking accelerator. This

reduces the need to reconfigure the accelerator logic blocks, which would take additional time and

impede overall efficiency.

           187.   This functionality is described in Microsoft’s ’709 patent: “Configuration data can

[be] used to switch between roles (or otherwise change behavior) at an acceleration component

using the same underlying image [i.e., processor configuration]. As such, roles (or other behavior)

can be changed without having to load a new image file.” Exhibit 11 at 20:26-30. The ’709 patent

further explains that “[a] service manager can minimize reconfiguration as much as possible when

allocating a group of interoperating acceleration components to accelerate a service.” Exhibit 11:

at 7:14-17.

           188.   Upon information and belief, in accordance with 35 U.S.C. § 287, Microsoft has

had actual notice and knowledge of the ’306 patent no later than its issuance.

           189.   Microsoft continues, without license, to make use, offer for sale, import and/or sell

in the United States services or products that infringe the ’306 patent including specifically

Microsoft Azure and its cloud computing functionalities.

           190.   Microsoft has directly infringed and continues to directly infringe the ’306 patent

by engaging in acts constituting patent infringement under 35 U.S.C. § 271(a) including but not

necessarily limited to one or more of making, using, selling and offering to sell, in this District and

elsewhere in the United States, and importing into the United States, the Microsoft Azure platform

or components and services thereof.

           191.   Microsoft’s continuing infringement of the ’306 patent is knowing, intentional, and

willful.

           192.   Microsoft has had knowledge of and notice of the chain of applications underlying




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the ’306 patent since at least January 2018 when ThroughPuter brought the ’090 and ’833 patents

as well as the portfolio including a number of pending patent applications to the attention of

Microsoft in the January 2018 letter, and despite this knowledge continues to commit the

aforementioned infringing acts. For at least the reasons stated in this paragraph and above, this

infringement has been willful.

        193.   Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’306 patent under 35 U.S.C. § 271(b) and (c) through a range of

activities.

        194.   First, on information and belief, Microsoft has induced infringement by, with

knowledge of the ’306 patent, controlling the design and development of, offering for sale, and

selling the services of the Azure platform with the knowledge and specific intent that its customers

will use the Azure platform to infringe the ’306 patent by executing the system operations and

utilizing the system components to perform dynamic resource management of the pool of Azure

processing resources on behalf of application programs of customers of the Azure platform cloud

computing services.

        195.    Second, on information and belief, Microsoft has, with knowledge of the ’306

patent, induced infringement by its customers through the dissemination of promotional,

marketing, and tutorial materials relating to the Azure platform with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’306 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

        196.    Third, on information and belief, Microsoft, with knowledge of the ’306 patent,




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has induced infringement by its customers through the creation and online posting of tutorial and

“how-to” materials for the Azure platform and/or its individual components in the United States

with the knowledge and specific intent that its customers will use the Azure platform to infringe

the ’306 patent by executing the system operations and utilizing the system components to perform

dynamic resource management of the pool of Azure processing resources on behalf of application

programs of customers of the Azure platform cloud computing services.

       197.    Fourth, on information and belief, Microsoft has, with knowledge of the ’306

patent, induced infringement through the distribution of other instructional materials, product

manuals, and technical materials with the knowledge and the specific intent to encourage and

facilitate its customers’ infringing use of the Azure platform.

       198.    Microsoft has engaged in the above activities with knowledge of the ’306 patent

and with the specific intent to encourage and cause infringement by its customers, as shown by the

allegations set forth above.

       199.    Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’306 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’306 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

cloud platform, thereby infringing the ’306 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute at least a material part of the claimed invention of




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the ’306 patent.

       200.    Microsoft’s infringement of the ’306 patent has injured ThroughPuter in its

business and property rights.

       201.    Microsoft’s infringement of the ’306 patent has been and is deliberate and willful

and constitutes egregious misconduct. Upon information and belief, despite actual knowledge of

the ’306 patent and numerous related patents and applications since at least January 2018,

Microsoft continued to develop and offer its infringing products and services. In developing and

offering its products and services, Microsoft has been willfully blind to this ongoing infringement.

       202.    Pursuant to 35 U.S.C. § 284, ThroughPuter is entitled to recover monetary damages

for the injuries arising from Microsoft’s willful infringement in an amount to be determined at

trial. Microsoft’s infringement of the ’306 patent has caused irreparable harm to ThroughPuter and

will continue to cause such harm unless and until Microsoft’s infringing activities are enjoined by

this Court.

       203.    Microsoft’s infringement of the ’306 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. §

285.

                                           COUNT 2
                          (Infringement of U.S. Patent No. 10,620,998)

       204.    ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

       205.    On April 14, 2020, the United States Patent and Trademark Office duly and legally

issued U.S. Patent No. 10,620,998 (“the ’998 patent”), entitled “Task Switching and Inter-Task

Communications for Coordination of Applications Executing on a Multi-User Parallel Processing

Architecture.” A copy of the ’998 patent is attached as Exhibit 2.



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       206.    Mark Sandstrom is the sole and true inventor of the ’998 patent.

       207.    ThroughPuter, Inc. owns all right, title and interest to and in the ’998 patent.

       208.    Microsoft’s infringes at least claims 1-7 and 9-21 of the ’998 patent.

       209.    Claim 1 of the ‘998 patent is representative of the claims infringed by Microsoft

and recites:

               1. A method for managing execution of a plurality of software applications on an
                     array of processing units, the method comprising:

               providing, for each software application of the plurality of software applications,
                      one or more input buffers of a plurality of input buffers, each input buffer
                      being provided for buffering processing load input directed to a respective
                      software application of the plurality of software applications and being
                      dedicated to the respective software application; and

               repeatedly rearranging, by a controller comprising hardware logic and/or software
                      logic, task assignment to the array of processing units and communication
                      path connectivity for the array of processing units, wherein the array of
                      processing units comprises a plurality of processing units of a
                      reconfigurable type, each being configurable in two or more application
                      specific configurations, and rearranging comprises, for each iteration of a
                      plurality of iterations,

               allocating, to each software application of at least a portion of a plurality of software
                       applications as a set of active software applications, a number of units of
                       the array of processing units at least in part in accordance with a plurality
                       of demand expressions, each demand expression of the plurality of demand
                       expressions corresponding to a different software application of the
                       plurality of software applications, wherein each demand expression of the
                       plurality of demand expressions is based at least in part on a measure of an
                       amount of a processing load input at the one or more input buffers of the
                       respective software application,

               assigning, for each application of the set of active software applications, one or
                      more task instances of the respective active application to one or more
                      processing units of the plurality of processing units in accordance with the
                      allocating,

                       wherein at least one task instance of the one or more task instances is a
                              ready-to-execute task instance of the respective software application
                              for processing the data at the one or more input data buffers of the
                              respective software application,



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                       each task instance of the one or more task instances is assigned to a different
                               processing unit of the one or more processing units such that
                               assigning results in each processing unit of the plurality of
                               processing units being assigned only one respective task instance for
                               any given iteration of the plurality of iterations, and

                       assigning comprises, for at least one task instance of the one or more task
                              instances of a given software application of the plurality of software
                              applications, reconfiguring the respective processing unit to an
                              application specific configuration of the two or more application
                              specific configurations, wherein the application specific
                              configuration is associated with the at least one task instance, and

                       causing connection, in accordance with the assigning, of the processing load
                              input from each buffer of at least a portion of the plurality of input
                              buffers to a different unit of the plurality of processing units to
                              connect respective processing load input to the respective software
                              application that the respective processing load input is directed to.


       210.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’998 patent.

       1. A method for managing execution of a plurality of software applications on an array
       of processing units, the method comprising:

       211.    The Microsoft Azure cloud platform (hereinafter, “Azure”) manages execution of

a plurality of software applications on an array of processing units, e.g., FPGA processors.

Microsoft Azure is configured to, and Microsoft uses Azure to, manage and host a number of

applications across multiple processors within a group of processors.

       212.    At least the AC in conjunction with RM, SMs FMs, is used to manage the

assignment of computing cores across multiple applications and multiple application tasks

running, for instance, on multiple computing cores such as CPUs, GPUs and/or FPGA processors.

       providing, for each software application of the plurality of software applications, one or
       more input buffers of a plurality of input buffers, each input buffer being provided for
       buffering processing load input directed to a respective software application of the
       plurality of software applications and being dedicated to the respective software
       application; and



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        213.   Azure provides, for each software application of the plurality of software

applications, one or more input buffers of a plurality of input buffers in the form of queues.

        214.   A given input buffer is provided for buffering processing load input directed to a

respective software application of the plurality of software applications and being specific to usage

by the respective software application.

        215.   As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” in Azure, queues are associated with specific applications. Data from

those queues are routed under the direction of the AC in conjunction with the RM, SMs and FMs

to respective FPGA processors that have been at least temporarily or dynamically assigned to

performing a task specific to an application program.

        repeatedly rearranging, by a controller comprising hardware logic and/or software logic,
        task assignment to the array of processing units and communication path connectivity
        for the array of processing units, wherein the array of processing units comprises a
        plurality of processing units of a reconfigurable type, each being configurable in two or
        more application specific configurations, and rearranging comprises, for each iteration
        of a plurality of iterations

        216.   Microsoft Azure repeatedly rearranges, by a controller, which comprises hardware

logic and/or software logic, task assignment to the array of processing units and communication

path connectivity for the array of processing units, wherein the array of processing units comprises

a plurality of processing units of a reconfigurable type, each being configurable in two or more

application specific configurations, and rearranging comprises, for each iteration of a plurality of

iterations.

        217.   Microsoft Azure includes a controller (e.g. at least the AC in conjunction with the

RM, SMs, and FMs) comprising hardware logic and/or software logic that repeatedly rearranges

task assignment to the array of processing units for each iteration.

        218.   The controller (e.g., at least the AC in conjunction with the RM, SMs, and FMs)



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also repeatedly rearranges communication path connectivity among the array of processing units.

       219.      As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft’s Azure cloud platform includes an array of processing units

that are of a reconfigurable type (e.g., FPGA processors), each being configurable in two or more

application specific configurations (e.g., for DNN, SQL database programs, or a web search

ranking algorithm or speech recognition, encryption or compression applications, demanding their

respective forms of hardware acceleration).

       allocating, to each software application of at least a portion of a plurality of software
       applications as a set of active software applications, a number of units of the array of
       processing units at least in part in accordance with a plurality of demand expressions,
       each demand expression of the plurality of demand expressions corresponding to a
       different software application of the plurality of software applications, wherein each
       demand expression of the plurality of demand expressions is based at least in part on a
       measure of an amount of a processing load input at the one or more input buffers of the
       respective software application,

       220.      Microsoft’s Azure (through e.g., the RM in coordination with SMs, and FMs, which

operate in conjunction with the AC) also allocates processing units to application programs at least

in part in accordance with a plurality of demand expressions made by Azure that correspond to a

different software application (e.g., a program or group of programs that demand encryption

acceleration).

       221.      In Azure, this is done in response to a change in demand expressed by the

application programs and/or their respective tasks, for instance by the accumulation of data at the

input buffer for an application program and/or task. According to Microsoft’s ’709 patent,

“[a]cceleration components [i.e., reconfigurable processing units H] can be allocated in a manner

that balances load in a hardware acceleration plane, minimizes role switching, and adapts to

demand changes.” Exhibit 11 at Abstract. The ’709 patent further explains that “[d]uring continued

monitoring, service manager 1521 can detect an increased demand for graph 1502. Based on the



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current allocation of acceleration components in hardware plane 106 and in view of allocation

policy 1526, service manager 1521 can (re)allocate acceleration components to meet the increased

demand for graph 1502.” Exhibit 11 at 19:60-65.

       222.    Each demand expression of the plurality of demand expressions is based at least in

part on a measure of an amount of a processing load input at the one or more input buffers of the

respective software application (e.g., Azure allocates cores based on the measure of data to be

processed for each software application such that the amount of processing capacity is allocated at

least in part in accordance with the processing needs of the applications).

       223.    In Azure, each software application has its own processing needs, which are queued

at the input buffers. The number of processor cores allocated to each application changes based

on the applications’ need for processing capacity as reflected in the demand expressions. In the

illustrative example depicted above, the Ranking Service program is allocated twice the number

of cores that are assigned to the ADLA program due to the fact that the Ranking Service needs

more processing capacity.

       assigning, for each application of the set of active software applications, one or more
       task instances of the respective active application to one or more processing units of the
       plurality of processing units in accordance with the allocating, wherein at least one task
       instance of the one or more task instances is a ready-to-execute task instance of the
       respective software application for processing the data at the one or more input data
       buffers of the respective software application, each task instance of the one or more task
       instances is assigned to a different processing unit of the one or more processing units
       such that assigning results in each processing unit of the plurality of processing units
       being assigned only one respective task instance for any given iteration of the plurality
       of iterations, and

       224.    Microsoft Azure assigns (e.g. through the SM in coordination with the RM and

FMs, which operate in conjunction with the AC), for each application of the set of active software

applications, one or more task instances of the respective active application to one or more

processing units of the plurality of processing units in accordance with the allocating of processors



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from among the array of processing units.

        225.    At least one task instance of the one or more task instances, which are assigned to

a processing unit, is a ready-to-execute task instance of the respective software application for

processing the data at the one or more input data buffers of the respective software application.

        226.    In Azure, each task instance of the one or more task instances is assigned to a

different processing unit of the one or more processing units such that assigning results in each

processing unit of the plurality of processing units being assigned one respective task instance for

any given iteration of the plurality of iterations.

        assigning comprises, for at least one task instance of the one or more task instances of a
        given software application of the plurality of software applications, reconfiguring the
        respective processing unit to an application specific configuration of the two or more
        application specific configurations, wherein the application specific configuration is
        associated with the at least one task instance, and
        227.    Microsoft Azure’s FPGA-enabled architecture performs assigning that includes, for

at least one task instance of the one or more task instances of a given software application of the

plurality of software applications, reconfiguring the respective processing unit to an application

specific configuration of the two or more application specific configurations, wherein the

application specific configuration is associated with the at least one task instance.

        228.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the FPGA processors underlying the processor groups or graphs are

dynamically reconfigured over time, in response to demand expressed by various applications, to

perform specialized application-specific tasks such as web search ranking, data compression,

DNN, or SQL database operations.

        causing connection, in accordance with the assigning, of the processing load input from
        each buffer of at least a portion of the plurality of input buffers to a different unit of the




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       plurality of processing units to connect respective processing load input to the respective
       software application that the respective processing load input is directed to.

       229.    Microsoft Azure causes connection, in accordance with the assigning, of the

processing load input from each buffer of at least a portion of the plurality of input buffers to a

different unit of the plurality of processing units to connect respective processing load input to the

respective software application that the respective processing load input is directed to.

       230.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the queues such as message queues are associated with specific

applications. Data from those queues are provided under the direction of the AC in conjunction

with the RM, SMs, and/or FMs to respective FPGA processors that have been temporarily or

dynamically assigned to perform a specific task for a specific application. Each FPGA processor

performs a task such as data compression or web search ranking and returns the result back to the

head unit or SM.

       231.    Upon information and belief, in accordance with 35 U.S.C. § 287, Microsoft has

had actual notice and knowledge of the ’998 patent no later than its issuance.

       232.    Microsoft continues, without license, to make, use, offer for sale, import and/or sell

in the United States services or products that infringe the ’998 patent including specifically

Microsoft Azure and its cloud computing functionalities.

       233.    Microsoft has directly infringed and continues to directly infringe the ’998 patent

by engaging in acts constituting patent infringement under 35 U.S.C. § 271(a) including but not

necessarily limited to one or more of making, using, selling and offering to sell, in this District and

elsewhere in the United States, and importing into the United States, the Microsoft Azure platform

or components and services thereof.

       234.    Microsoft’s infringement of the ’998 patent has been, and continues to be knowing,



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intentional, and willful.

        235.   Microsoft has had knowledge of and notice of the chain of applications underlying

the ’998 patent since at least January 2018 when ThroughPuter brought the ’090 and ’833 patents

as well as the portfolio, including a number of pending patent applications, to the attention of

Microsoft in the January 2018 letter, and despite this knowledge continues to commit the

aforementioned infringing acts. For at least the reasons stated in this paragraph and above, this

infringement has been willful.

        236.   Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’998 patent under 35 U.S.C. § 271(b) and (c) through a range of

activities.

        237.   First, on information and belief, Microsoft has induced infringement by, with

knowledge of the ’998 patent, controlling the design and development of, offering for sale, and

selling the services of the Azure platform with the knowledge and specific intent that its customers

will use the Azure platform to infringe the ’998 patent by executing the system operations and

utilizing the system components to perform dynamic resource management of the pool of Azure

processing resources on behalf of application programs of customers of the Azure platform cloud

computing services.

        238.    Second, on information and belief, Microsoft has, with knowledge of the ’998

patent, induced infringement by its customers through the dissemination of promotional,

marketing, and tutorial materials relating to the Azure platform with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’998 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the




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Azure platform cloud computing services. Exhibit 26, Exhibit 27.

       239.     Third, on information and belief, Microsoft, with knowledge of the ’998 patent,

has induced infringement by its customers through the creation and online posting of tutorial and

“how-to” materials for the Azure platform and/or its individual components in the United States

with the knowledge and specific intent that its customers will use the Azure platform to infringe

the ’998 patent by executing the system operations and utilizing the system components to perform

dynamic resource management of the pool of Azure processing resources on behalf of application

programs of customers of the Azure platform cloud computing services.

       240.    Fourth, on information and belief, Microsoft has, with knowledge of the ’998

patent, induced infringement through the distribution of other instructional materials, product

manuals, and technical materials with the knowledge and the specific intent to encourage and

facilitate its customers’ infringing use of the Azure platform.

       241.    Microsoft has engaged in the above activities with knowledge of the ’998 patent

and with the specific intent to encourage and cause infringement by its customers, as shown by the

allegations set forth above.

       242.    Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’998 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’998 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure




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cloud platform, thereby infringing the ’998 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute at least a material part of the claimed invention of

the ’998 patent.

         243.   Microsoft’s infringement of the ’998 patent has injured ThroughPuter in its

business and property rights.

         244.   Microsoft’s infringement of the ’998 patent has been and is deliberate and willful

and constitutes egregious misconduct. Upon information and belief, despite actual knowledge of

the ’998 patent and numerous related patents and applications since at least January 2018,

Microsoft continued to develop and offer its infringing products and services. In developing and

offering its products and services, Microsoft has been willfully blind to this ongoing infringement.

         245.   Pursuant to 35 U.S.C. § 284, ThroughPuter is entitled to recover monetary damages

for the injuries arising from Microsoft’s willful infringement in an amount to be determined at

trial. Microsoft’s infringement of the ’998 patent has caused irreparable harm to ThroughPuter and

will continue to cause such harm unless and until Microsoft’s infringing activities are enjoined by

this Court.

         246.   Microsoft’s infringement of the ’998 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                           COUNT 3
                          (Infringement of U.S. Patent No. 10,437,644)

         247.   ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

         248.   On October 8, 2019, the United States Patent and Trademark Office duly and

legally issued the ’644 patent, entitled “Task Switching and Inter-Task Communications for



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Coordination of Applications Executing on a Multi-User Parallel Processing Architecture.” A

copy of the ’644 patent is attached as Exhibit 3.

       249.     Mark Sandstrom is the sole and true inventor of the ’644 patent.

       250.    ThroughPuter owns all right, title, and interest to and in the ’644 patent.

       251.    Microsoft infringes at least claims 1-4, 6-7, 9-11, and 13-20 of the ’644 patent.

       252.    Claim 1 of the ’644 patent is representative of the claims infringed by Microsoft

and recites:

               1. A system for managing execution of a plurality of software applications on an
                      array of processing units, the system comprising:
               a core fabric comprising
               the array of processing units, and
               a plurality of input buffers, each input buffer being provided for buffering
                      processing load input directed to a respective software application of the
                      plurality of software applications and being dedicated to the respective
                      software application, wherein
               each buffer of the plurality of input buffers is deployed in the core fabric apart from
                      the array of processing units, and each software application of the plurality
                      of software applications is provided one or more input buffers of the
                      plurality of input buffers; and
               a controller comprising hardware logic and/or software logic for performing
                      operations for repeatedly reconfiguring task assignment to the array of
                      processing units and communication path connectivity for the array of
                      processing units, the operations comprising, for each iteration of a plurality
                      of iterations,
                       allocating, to each software application of at least a portion of the plurality
                               of software applications as a plurality of active software
                               applications, a number of units of the array of processing units at
                               least in part in accordance with a plurality of demand expressions,
                               each demand expression of the plurality of demand expressions
                               corresponding to a different software application of the plurality of
                               software applications, wherein each demand expression of the
                               plurality of demand expressions is based at least in part on a measure
                               of an amount of the processing load input at the one or more input
                               buffers of the respective software application, wherein allocating
                               results in, for at least some of the plurality of software applications,
                               a respective one or more allocated processing units of the array of
                               processing units,


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          obtaining, for each software application of the plurality of active software
                 applications, identification of one or more tasks of the respective
                 software application,
          assigning a respective task of the one or more tasks of each application of
                 the plurality of active software applications to at least one respective
                 processing unit of the respective one or more allocated processing
                 units in accordance with the allocating, wherein
                 for at least a portion of the plurality of active software applications,
                          the number of processing units allocated to the respective
                          software application is less than a number of possible tasks
                          of the respective software application available for
                          assigning, and
                 assigning comprises, for each software application of at least a
                        portion of the plurality of active software applications,
                        identifying at least one activating task of the one or more
                        tasks of the respective software application not assigned to
                        the array of processing units for execution for a current
                        iteration of the plurality of iterations, and
                 for each activating task of each software application of the portion
                        of the plurality of active software applications, identifying at
                        least one available unit of the array of processing units, each
                        available unit corresponding to a respective deactivating task
                        of at least one software application of the plurality of
                        software applications, each deactivating task not assigned to
                        the array of processing units for execution for a next iteration
                        of the plurality of iterations, and assigning the at least one
                        activating task to the at least one available unit, and
          causing connection, in accordance with the assigning, of the processing load
                 input from each buffer of at least a portion of the plurality of input
                 buffers to a different unit of the respective one or more allocated
                 processing units to connect respective processing load input to a task
                 of the one or more tasks of the respective software application that
                 the respective processing load input is directed to;
                 wherein, for consecutive iterations of the plurality of iterations and
                 for at least one software application of the plurality of active
                 software applications, a number of the one or more allocated
                 processing units allocated to the respective software application
                 varies with the measure of the processing load input at the one or
                 more input buffers of the respective software application for the
                 respective iteration, and the assigning comprises assigning a varying
                 number of tasks of concurrent instances of the respective software
                 application corresponding to variations in the number of processing
                 units allocated to the respective software application between the
                 consecutive iterations.


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       253.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’644 patent.

       1. A system for managing execution of a plurality of software applications on an array
       of processing units

       254.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft Azure comprises a system for managing execution of a

plurality of software applications on an array of processing units. Microsoft Azure is configured

to, and Microsoft uses Azure to, manage and host a number of applications across a pool of

processing nodes. The AC in conjunction with the RM, FMs, and SMs is used to manage the

assignment of computing cores across multiple applications and multiple application tasks

running, for instance, on multiple computing cores such as CPUs, GPUs, and/or FPGA processors.

       a core fabric comprising the array of processing units, and

       255.    Microsoft Azure includes a core fabric comprising an array of processing units. As

discussed above, Azure includes the Azure Fabric, which is a parallel processing core fabric

including an array of processing units.

       a plurality of input buffers, each input buffer being provided for buffering processing
       load input directed to a respective software application of the plurality of software
       applications and being dedicated to the respective software application, wherein each
       buffer of the plurality of input buffers is deployed in the core fabric apart from the array
       of processing units, and each software application of the plurality of software
       applications is provided one or more input buffers of the plurality of input buffers; and

       256.    Microsoft Azure includes a plurality of input buffers, each input buffer being

provided for buffering processing load input directed to a respective software application of the

plurality of software applications and being dedicated to usage by a respective software

application.

       257.    Each buffer of the plurality of input buffers is deployed in the core fabric apart from



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the array of processing units, and each software application of the plurality of software applications

is provided with one or more input buffers of the plurality of input buffers.

       258.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” in Azure, queues are associated with specific applications, and act as

input buffers. Those input buffers are deployed in the Azure Fabric and are separate from the

processors with which the buffers interface.

       a controller comprising hardware logic and/or software logic for performing operations
       for repeatedly reconfiguring task assignment to the array of processing units and
       communication path connectivity for the array of processing units, the operations
       comprising, for each iteration of a plurality of iterations,

       259.    Microsoft Azure includes a controller comprising hardware logic and/or software

logic for performing operations for repeatedly reconfiguring both task assignment to the array of

processing units and communication path connectivity for the array of processing units.

       260.    Microsoft Azure includes a controller (e.g., at least the AC in conjunction with the

RM, SMs, and FMs) comprising hardware logic and/or software logic that repeatedly rearranges

task assignment to the array of processing units.

       261.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the controller also repeatedly rearranges communication path

connectivity through the Azure Fabric among the array of processing units.

       allocating, to each software application of at least a portion of the plurality of software
       applications as a plurality of active software applications, a number of units of the array
       of processing units at least in part in accordance with a plurality of demand expressions,
       each demand expression of the plurality of demand expressions corresponding to a
       different software application of the plurality of software applications, wherein each
       demand expression of the plurality of demand expressions is based at least in part on a
       measure of an amount of the processing load input at the one or more input buffers of
       the respective software application,

       262.    For each iteration, of a plurality of iterations, Microsoft Azure allocates, to each



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software application of at least a portion of the plurality of software applications as a plurality of

active software applications, a number of units of the array of processing units at least in part in

accordance with a plurality of demand expressions, each demand expression of the plurality of

demand expressions corresponding to a different software application of the plurality of software

applications.

       263.     Microsoft’s Azure cloud platform (through e.g., the RM in coordination with the

SMs and FMs, which work in conjunction with the AC) also allocates processing units to

application programs at least in part in accordance with a plurality of demand expressions that

correspond to the needs of a different software application (e.g., a program for encryption

services).

       264.     Each demand expression of the plurality of demand expressions is based at least in

part on a measure of an amount of a processing load input at the one or more input buffers of the

respective software application (e.g., Azure allocates cores based on the measure of data to be

processed for each software application such that the amount of processing capacity is allocated

taking into consideration the respective processing needs of the software applications).

       265.     In Azure, each software application has its own processing needs, which are queued

at the input buffers. The number of processor cores allocated to each application changes based

on the applications’ need for processing capacity as reflected in the demand expressions. In the

illustrative example depicted above, the Ranking Service program is allocated twice the number

of cores that are assigned to the ADLA program due to the fact that the Ranking Service needs

more processing capacity.




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       wherein allocating results in, for at least some of the plurality of software applications,
       a respective one or more allocated processing units of the array of processing units,
       obtaining, for each software application of the plurality of active software applications,
       identification of one or more tasks of the respective software application

       266.     The allocating performed by Microsoft Azure results in, for at least some of the

plurality of software applications, a respective one or more allocated processing units of the array

of processing units, obtaining, for each software application of the plurality of active software

applications, identification of one or more tasks of the respective software application.

       267.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” in Azure, a given application comprises a number of concurrent tasks

to be executable by the processing units, which results in Azure identifying one or more tasks of

the respective software applications.

       assigning a respective task of the one or more tasks of each application of the plurality
       of active software applications to at least one respective processing unit of the respective
       one or more allocated processing units in accordance with the allocating, wherein
       for at least a portion of the plurality of active software applications, the number of
       processing units allocated to the respective software application is less than a number of
       possible tasks of the respective software application available for assigning, and

       268.    Microsoft Azure assigns (e.g., at least the SMs in coordination with the RM and

FMs, which work in conjunction with the AC) a respective task of the one or more tasks of each

application of the plurality of active software applications to at least one respective processing unit

of the respective one or more allocated processing units in accordance with the allocating, wherein

for at least a portion of the plurality of active software applications, the number of processing units

allocated to the respective software application is less than a number of possible tasks of the

respective software application available for assigning.

       269.    As explained above in the section entitled “Microsoft’s Infringing Cloud




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Computing Architecture,” at least the SMs in coordination with the RM and FMs, which work in

conjunction with the AC, assign a number of processing cores based on the demand expressed by

each application. In Azure, application programs are sometimes allocated fewer processing units

than the number of queued tasks, including when other applications express higher demand.

        assigning comprises, for each software application of at least a portion of the plurality
        of active software applications, identifying at least one activating task of the one or more
        tasks of the respective software application not assigned to the array of processing units
        for execution for a current iteration of the plurality of iterations, and for each activating
        task of each software application of the portion of the plurality of active software
        applications, identifying at least one available unit of the array of processing units, each
        available unit corresponding to a respective deactivating task of at least one software
        application of the plurality of software applications, each deactivating task not assigned
        to the array of processing units for execution for a next iteration of the plurality of
        iterations, and assigning the at least one activating task to the at least one available unit,
        and

        270.    Microsoft Azure (e.g., at least the SMs in coordination with the RM and FMs,

which work in conjunction with the AC) identifies, for each software application of at least a

portion of the plurality of active software applications, at least one activating task of the one or

more tasks of a respective software application that was not assigned to the array of processing

units for execution for a current iteration of the plurality of iterations.

        271.    For each activating task, Microsoft Azure identifies at least one available

processing unit corresponding to a respective deactivating task of at least one software application

of the plurality of software applications, with each such deactivating task being not assigned to the

array of processing units for execution for a next iteration of the plurality of iterations.

        272.    Microsoft Azure assigns the at least one activating task to the at least one available

unit.

        273.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Azure changes the graphs or groupings of processors dynamically and



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periodically (e.g., by the RM in coordination with the SMs and FMs, which work in conjunction

with the AC). In some situations, such as the scenarios described in the ’709 patent, in a given

reconfiguration some of the running tasks are deactivated from their group or application, such

that a new task from potentially a different application can be activated and placed on an available

processing unit.

       causing connection, in accordance with the assigning, of the processing load input from
       each buffer of at least a portion of the plurality of input buffers to a different unit of the
       respective one or more allocated processing units to connect respective processing load
       input to a task of the one or more tasks of the respective software application that the
       respective processing load input is directed to;

       274.    Microsoft Azure causes connection, in accordance with the assigning, of the

processing load input from each buffer of at least a portion of the plurality of input buffers to a

different unit of the respective one or more allocated processing units to connect respective

processing load input to a task among the one or more tasks of the respective software application

that the respective processing load input is directed to.

       275.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the queues such as message queues are associated with specific

applications. Data from those queues are provided under the direction of the AC in conjunction

with the RM, SMs, and FMs to respective processing units that have been temporarily or

dynamically assigned to perform a task specific to an application program. When the data from

one of the queues is connected to an FPGA processor of an FPGA Grouping, it may be a different

processing unit than was previously connected to the queue.




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       wherein, for consecutive iterations of the plurality of iterations and for at least one
       software application of the plurality of active software applications, a number of the one
       or more allocated processing units allocated to the respective software application varies
       with the measure of the processing load input at the one or more input buffers of the
       respective software application for the respective iteration, and the assigning comprises
       assigning a varying number of tasks of concurrent instances of the respective software
       application corresponding to variations in the number of processing units allocated to
       the respective software application between the consecutive iterations.

       276.    In Azure, these steps are repeated and, for consecutive iterations of the plurality of

iterations and for at least one software application of the plurality of active software applications,

a number of the one or more allocated processing units allocated to the respective software

application varies with the measure of the processing load input at the one or more input buffers

of the respective software application for the respective iteration, and the assigning comprises

assigning a varying number of tasks of concurrent instances of the respective software application

corresponding to variations in the number of processing units allocated to the respective software

application between the consecutive iterations.

       277.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the RM in coordination with the SMs and FMs, which work in

conjunction with the AC, allocates a number of processing cores based on the processing needs of

each application. One task is assigned to each allocated processing core for a given allocation

interval. During each periodic reallocation, the number of processing cores allocated to each

application varies based on the processing needs of the various hosted applications.

       278.    On information and belief, in accordance with 35 U.S.C. § 287, Microsoft has had

actual notice and knowledge of the ’644 patent no later than its issuance.

       279.    Microsoft has had knowledge of and notice of the chain of applications underlying

the ’644 patent since at least January 2018 when ThroughPuter brought the ’090 and ’833 patents

as well as its portfolio, including a number of pending patent applications, to the attention of



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Microsoft in the January 2018 letter.

       280.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’644 patent.

       281.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’644 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into

the United States, the Microsoft Azure platform or components and services thereof.

       282.    Microsoft’s infringement of the ’644 patent has been, and continues to be knowing,

intentional, and willful. On information and belief, Microsoft has had knowledge of and notice of

the application underlying the ’644 patent since at least January 2018 and despite this knowledge

continues to commit the aforementioned infringing acts. For at least the reasons stated in this

paragraph and above, this infringement has been willful.

       283.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’644 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’644 patent by executing the system

operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.

       284.     Second, on information and belief, Microsoft has induced infringement by its




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customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’644 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources

on behalf of application programs of customers of the Azure platform cloud computing services.

       285.     Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’644 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

       286.    Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customers’ infringing use of the

Azure platform.

       287.    On information and belief, Microsoft has engaged in the above activities with

knowledge of the ’644 patent and with the specific intent to encourage and cause infringement by

its customers, as shown by the allegations set forth above.

       288.    Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’644 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’644 patent, including at least the Azure platform as a whole and/or the individual




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components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

cloud platform, thereby infringing the ’644 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute a material part of the claimed invention of the ’644

patent.

          289.   Microsoft’s infringement of the ’644 patent has injured ThroughPuter in its

business and property rights. Microsoft’s infringement of the ’644 patent has been and is deliberate

and willful and constitutes egregious misconduct. On information and belief, despite actual

knowledge of the ’644 patent and numerous related patents and applications since at least January

2018, Microsoft continued to develop and offer its infringing products and services. In developing

and offering its products and services, Microsoft has been willfully blind to this ongoing

infringement. ThroughPuter is entitled to recover monetary damages for the injuries arising from

Microsoft’s willful infringement pursuant to 35 U.S.C. § 284 in an amount to be determined at

trial. Microsoft’s infringement of the ’644 patent has caused irreparable harm to ThroughPuter and

will continue to cause such harm unless and until Microsoft’s infringing activities are enjoined by

this Court.

          290.   Microsoft’s infringement of the ’644 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                           COUNT 4
                          (Infringement of U.S. Patent No. 10,430,242)

          291.   ThroughPuter repeats and realleges each and every allegation contained above as



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though fully set forth herein.

          292.    On October 1, 2019, the United States Patent and Trademark Office duly and

legally issued the ’242 patent, entitled “Task Switching and Inter-Task Communications for

Coordination of Applications Executing on a Multi-User Parallel Processing Architecture.” A copy

of the ’242 patent is attached as Exhibit 4.

          293.    Mark Sandstrom is the sole and true inventor of the ’242 patent.

          294.   ThroughPuter owns all right, title, and interest to and in the ’242 patent.

          295.   Microsoft infringes at least claims 1-3, 6-7, 9-10, 12, 14-20, and 23 of the ’242

patent.

          296.   Claim 1 of the ’242 patent is representative of the claims infringed by Microsoft

and recites:

          1. A system for managing execution of a plurality of software applications on an array of
                 processing units, the system comprising:
          a core fabric comprising
          the array of processing units, and
          a plurality of input data buffers, each input data buffer being provided for buffering input
                  data directed to a respective software application of the plurality of software
                  applications and being dedicated to the respective software application, wherein
                 each buffer of the plurality of input data buffers is deployed in the core fabric apart
                        from the array of processing units, and each software application of the
                        plurality of software applications is provided one or more input data buffers
                        of the plurality of input data buffers; and
          a controller comprising hardware logic and/or software logic for performing operations for
                  repeatedly reconfiguring task assignment to the array of processing units, the
                  operations comprising, for each iteration of a plurality of iterations,
                 identifying, for each software application of at least a portion of the plurality of
                         software applications, an amount of input data at one or more input data
                         buffers of the plurality of input data buffers buffering data for the respective
                         software application,
                 allocating, to each software application of the portion of the plurality of software
                         applications, a number of processing units of the array of processing units
                         based at least in part on the amount of input data buffered for the respective



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                       software application, and for each software application of the portion,
                       i) assigning one or more task instances of the respective software
                              application for concurrent processing of the amount of input data to
                              the number of processing units allocated to the respective software
                              application by the allocating as one or more assigned instances, and
                       ii) adjusting, based at least in part on a change in a count of units between
                               the number of processing units allocated to the respective software
                               application and a number of previously allocated processing units
                               allocated to the respective software application during a previous
                               iteration of the plurality of iterations, a relative portion of the
                               amount of input data to be processed by at least one assigned
                               instance of the one or more assigned instances;
       wherein, for one or more iterations of the plurality of iterations where a current number of
              the one or more processing units allocated to any given software application of the
              portion of the plurality of software applications is increased by the allocating,
              adjusting comprises relatively decreasing the portion of the amount of input data to
              be processed by at least one instance of the one or more assigned instances of the
              respective software application; and
       wherein for one or more other iterations of the plurality of iterations where a present
              number of the one or more processing units allocated to any given software
              application of the portion of the plurality of software applications is decreased by
              the allocating, adjusting comprises relatively increasing the portion of the amount
              of input data to be processed by at least one instance of the one or more assigned
              instances of the respective software application.



       297.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’242 patent.

       1. A system for managing execution of a plurality of software applications on an array
       of processing units, the system comprising:

       298.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft Azure comprises a system for managing execution of a

plurality of software applications on an array of processing units. Microsoft Azure is configured

to, and Microsoft uses Azure to, manage and host a number of applications across a pool of

processing nodes. The AC in conjunction with the RM, SMs, and FMs is used to manage the




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assignment of computing cores across multiple applications and multiple application tasks

running, for instance, on multiple computing cores such as CPUs, GPUs, and/or FPGA processors.

       a core fabric comprising the array of processing units, and

       299.    Microsoft Azure includes the Azure Fabric, which is a core fabric comprising an

array of processing units.

       a plurality of input data buffers, each input data buffer being provided for buffering
       input data directed to a respective software application of the plurality of software
       applications and being dedicated to the respective software application, wherein
       each buffer of the plurality of input data buffers is deployed in the core fabric apart from
       the array of processing units, and each software application of the plurality of software
       applications is provided one or more input data buffers of the plurality of input data
       buffers; and
       300.    Microsoft Azure includes a plurality of input data buffers, each input data buffer

being provided for buffering input data directed to a respective software application of the plurality

of software applications and being dedicated by the respective software application, wherein each

buffer of the plurality of input data buffers is deployed in the core fabric apart from the array of

processing units, and each software application of the plurality of software applications is provided

one or more input data buffers of the plurality of input data buffers.

       301.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” in Azure, queues are associated with specific applications, which act as

input buffers. Those input buffers are deployed as part of the core fabric and separate from the

processors with which the buffers interface.

       a controller comprising hardware logic and/or software logic for performing operations
       for repeatedly reconfiguring task assignment to the array of processing units, the
       operations comprising, for each iteration of a plurality of iterations,
       302.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft Azure includes a controller (e.g., at least the AC in

conjunction with the RM, SMs, and FMs) comprising hardware logic and/or software logic for



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performing operations for repeatedly reconfiguring task assignment to the array of processing

units.

         303.   The controller also repeatedly rearranges communication path connectivity among

the array of processing units through the Azure Fabric.

         identifying, for each software application of at least a portion of the plurality of software
         applications, an amount of input data at one or more input data buffers of the plurality
         of input data buffers buffering data for the respective software application,

         304.   For each iteration of a plurality of iterations, Microsoft Azure identifies, for each

software application of at least a portion of the plurality of software applications, an amount of

input data at one or more input data buffers of the plurality of input data buffers buffering data for

the respective software application.

         305.   As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Azure identifies data at the data queues that is specific to a respective

software application.

         allocating, to each software application of the portion of the plurality of software
         applications, a number of processing units of the array of processing units based at least
         in part on the amount of input data buffered for the respective software application, and

         306.   As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the data queues act as input buffer, while the RM in coordination with

the SMs and FMs, which work in conjunction with the AC, allocates processing units based at

least in part on the amount of application program data stored at a queue.

         307.   Microsoft Azure allocates, to each software application of the portion of the

plurality of software applications, a number of processing units of the array of processing units

based at least in part on the amount of input data buffered for the respective software application.

         308.   As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the controller (e.g., at least the AC in conjunction with the RM, SMs,


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and FMs) allocates accelerators (e.g., FPGA processors) to software applications. Each software

application requires processing capacity as reflected by the data load buffered in the queues. The

number of processor cores allocated to each application is adjustable based on the application

program’s processing load. In the illustrative example depicted above, the Ranking Service

program is allocated twice the number of cores that are assigned to the ADLA program due to the

processing needs of the Ranking Service as compared to the ADLA program.

       for each software application of the portion,
       i)      assigning one or more task instances of the respective software application for
               concurrent processing of the amount of input data to the number of processing
               units allocated to the respective software application by the allocating as one or
               more assigned instances, and
       309.    Microsoft Azure assigns one or more task instances of the respective software

application for concurrent processing of the amount of input data to the number of processing units

allocated to the respective software application by the allocating as one or more assigned instances.

       310.    In Azure, one or more task instances is assigned (e.g., through the SM in

coordination with the RM and FMs, which work in conjunction with the AC) to different

processing units of the one or more processing units such that assigning results in individual

processing units of the plurality of processing units being assigned their respective task instances

for concurrent processing of the input load for the respective applications.

       ii)     adjusting, based at least in part on a change in a count of units between the
               number of processing units allocated to the respective software application and a
               number of previously allocated processing units allocated to the respective
               software application during a previous iteration of the plurality of iterations, a
               relative portion of the amount of input data to be processed by at least one
               assigned instance of the one or more assigned instances;

       311.    Microsoft Azure adjusts, based at least in part on a change in a count of units

between the number of processing units allocated to the respective software application and a

number of previously allocated processing units allocated to the respective software application



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during a previous iteration of the plurality of iterations, a relative portion of the amount of input

data to be processed by at least one assigned instance of the one or more assigned instances.

       312.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” in Azure, a given software application has its own processing load at

the input buffers. The number of processor cores allocated to any given application is adjustable

based on the application’s processing needs. In the illustrative example depicted above, the

Ranking Service program is allocated twice the number of cores than are allocated to the ADLA

due to the relative processing needs between the two programs. In that scenario, the number of

executing instances assigned per a given program may be adjusted due to the reallocation of cores.

       wherein, for one or more iterations of the plurality of iterations where a current number
       of the one or more processing units allocated to any given software application of the
       portion of the plurality of software applications is increased by the allocating, adjusting
       comprises relatively decreasing the portion of the amount of input data to be processed
       by at least one instance of the one or more assigned instances of the respective software
       application; and
       wherein for one or more other iterations of the plurality of iterations where a present
       number of the one or more processing units allocated to any given software application
       of the portion of the plurality of software applications is decreased by the allocating,
       adjusting comprises relatively increasing the portion of the amount of input data to be
       processed by at least one instance of the one or more assigned instances of the respective
       software application.

       313.    The adjusting performed by Microsoft Azure comprises, for one or more iterations

of the plurality of iterations where a current number of the one or more processing units allocated

to any given software application of the portion of the plurality of software applications is

increased by the allocating, inter alia, relatively decreasing the portion of the amount of input data

to be processed by at least one instance of the one or more assigned instances of the respective

software application. For one or more other iterations of the plurality of iterations where a present

number of the one or more processing units allocated to any given software application of the

portion of the plurality of software applications is decreased by the allocating, the adjusting


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comprises relatively increasing the portion of the amount of input data to be processed by at least

one instance of the one or more assigned instances of the respective software application.

       314.    As discussed above, Azure changes the graphs or groupings of processing units

dynamically and periodically (e.g., at least through the AC in conjunction with the RM, SMs, and

FMs). In some situations, such as the scenarios described in the ’709 patent, in a given reallocation

some of the processing units are added to the group of processors performing a task (e.g.,

mathematical algorithm) for an application (e.g., search ranking). For a given input load level, the

amount of input data sent to each processing unit in that group decreases since there are more

processor units performing the mathematical algorithm on a given amount of input data to be

processed, and vice versa in case fewer processing units were allocated for that given workload.

       315.    On information and belief, in accordance with 35 U.S.C. § 287, Microsoft has had

actual notice and knowledge of the ’242 patent no later than its issuance.

       316.    Microsoft has had knowledge of and notice of the chain of applications underlying

the ’242 patent since at least January 2018 when ThroughPuter brought the ’090 and ’833 patents

as well as its portfolio, including a number of pending patent applications, to the attention of

Microsoft in the January 2018 letter.

       317.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’242 patent.

       318.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’242 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into




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the United States, the Microsoft Azure platform or components and services thereof.

       319.    Microsoft’s infringement of the ’242 patent has been, and continues to be knowing,

intentional, and willful. On information and belief, Microsoft has had knowledge of and notice of

the application underlying the ’242 patent since at least January 2018 and despite this knowledge

continues to commit the aforementioned infringing acts. For at least the reasons stated in this

paragraph and above, this infringement has been willful.

       320.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’242 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’242 patent by executing the system

operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.

       321.     Second, on information and belief, Microsoft has induced infringement by its

customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’242 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources

on behalf of application programs of customers of the Azure platform cloud computing services.

       322.     Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific




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intent that its customers will use the Azure platform to infringe the ’242 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

          323.   Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customers’ infringing use of the

Azure platform.

          324.   On information and belief, Microsoft has engaged in the above activities with

knowledge of the ’242 patent and with the specific intent to encourage and cause infringement by

its customers, as shown by the allegations set forth above.

          325.   Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’242 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’242 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

cloud platform, thereby infringing the ’242 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute a material part of the claimed invention of the ’242

patent.

          326.   Microsoft’s infringement of the ’242 patent has injured ThroughPuter in its




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business and property rights. Microsoft’s infringement of the ’242 patent has been and is deliberate

and willful and constitutes egregious misconduct. On information and belief, despite actual

knowledge of the ’242 patent and numerous related patents and applications since at least January

2018, Microsoft continued to develop and offer its infringing products and services. In developing

and offering its products and services, Microsoft has been willfully blind to this ongoing

infringement. ThroughPuter is entitled to recover monetary damages for the injuries arising from

Microsoft’s willful infringement pursuant to 35 U.S.C. § 284 in an amount to be determined at

trial. Microsoft’s infringement of the ’242 patent has caused irreparable harm to ThroughPuter and

will continue to cause such harm unless and until Microsoft’s infringing activities are enjoined by

this Court.

         327.   Microsoft’s infringement of the ’242 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                           COUNT 5
                          (Infringement of U.S. Patent No. 10,318,353)

         328.   ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

         329.   On June 11, 2019, the United States Patent and Trademark Office duly and legally

issued the ’353 patent, entitled “Concurrent Program Execution Optimization.” A copy of the ’353

patent is attached as Exhibit 5.

         330.   Mark Sandstrom is the sole and true inventor of the ’353 patent.

         331.   ThroughPuter owns all right, title, and interest to and in the ’353 patent.

         332.   Microsoft infringes at least claims 1-2 and 8-14 of the ’353 patent.

         333.   Claim 1 of the ’353 patent is representative of the claims infringed by Microsoft



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and recites:

       1. A system for processing a set of computer program instances, comprising:
       a plurality of processing stages, at least one of the plurality of processing stages comprising
               multiple processing cores, wherein,
       each given task of a plurality of tasks of a given program instance of the set of program
              instances is hosted at a different stage of the plurality of processing stages as a local
              task of the given program instance at the respective stage, and
       for at least one of the multiple processing cores of a given processing stage of the plurality
                of processing stages, a local task of one of the program instances is assigned as an
                active task instance for execution for a period of time; and
       a group of multiplexers each connecting inter-task communications (ITC) data to a
             respective stage of the plurality of processing stages, wherein at least one
             multiplexer of the group of multiplexers is a hardware resource dedicated to the
             local task, wherein
       the at least one multiplexer is configured to connect ITC data to any processing core of the
                multiple processing cores to which the local task is assigned for execution for the
                period of time.

       334.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’353 patent.

       1. A system for processing a set of computer program instances, comprising:

       335.    As explained above in the section entitled, “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft Azure comprises a system for processing a set of computer

program instances.

       a plurality of processing stages, at least one of the plurality of processing stages
       comprising multiple processing cores, wherein, each given task of a plurality of tasks of
       a given program instance of the set of program instances is hosted at a different stage of
       the plurality of processing stages as a local task of the given program instance at the
       respective stage, and

       336.    Microsoft Azure includes a plurality of processing stages where at least one of the

plurality of processing stages comprises multiple processing cores, wherein each given task of a

plurality of tasks of a given program instance of the set of program instances is hosted at a different

stage of the plurality of processing stages as a local task of the given program instance at the



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respective stage.

       337.    Microsoft Azure is configured to, and Microsoft uses Azure to, manage and host a

number of applications across a pool of processing nodes. The AC in conjunction with the RM,

SMs, and FMs is used to manage the assignment of computing cores across multiple applications

and multiple application tasks running, for instance, on multiple computing cores such as CPUs,

GPUs, and/or FPGA processors.

       338.    Azure performs a requested task by breaking the requested functionality or

computation into various tasks, each of which is executed in a separate processing stage. Each

processing stage comprises at least one computing core. As illustrated in Fig. 2 of Microsoft’s

’392 patent (Exhibit 16), Azure assigns application instances for execution on a pipelined series

of stages, each stage comprising at least one reconfigurable processing element H.          Each

processing element executes its assigned local task.




Exhibit 16 at Fig. 2.

       339.    When a certain processing stage or task is particularly computationally intensive




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and/or parallelizable, the stage or task may be executed by more than one computing core. This

functionality is explained, for example, in Microsoft’s ’392 patent:

               In another scenario, assume that the function has plural stages that the
               function parsing component 3220 maps to different acceleration
               components. But assume that one stage is more labor intensive than the
               others. To avoid a bottleneck in processing associated with this stage, the
               function parsing component 3220 can allocate two or more acceleration
               components that operate in parallel for this stage.
Id. at 32:40-47.

        for at least one of the multiple processing cores of a given processing stage of the
        plurality of processing stages, a local task of one of the program instances is assigned as
        an active task instance for execution for a period of time; and

        340.   In Microsoft Azure, for at least one of the multiple processing cores of a given

processing stage of the plurality of processing stages, a local task of one of the program instances

is assigned as an active task instance for execution for a period of time.

        341.   In Azure, a local task to be executed by a processing stage is assigned as an active

task instance for execution on a processing core for a period of time.

        a group of multiplexers each connecting inter-task communications (ITC) data to a
        respective stage of the plurality of processing stages, wherein at least one multiplexer of
        the group of multiplexers is a hardware resource dedicated to the local task, wherein the
        at least one multiplexer is configured to connect ITC data to any processing core of the
        multiple processing cores to which the local task is assigned for execution for the period
        of time.

        342.   Microsoft Azure includes a group of multiplexers each connecting inter-task

communications (ITC) data to a respective stage of the plurality of processing stages, wherein at

least one multiplexer of the group of multiplexers is a hardware resource dedicated to the local

task, wherein the at least one multiplexer is configured to connect ITC data to any processing core

of the multiple processing cores to which the local task is assigned for execution for the period of

time.




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       343.    As explained in the above and further discussed in Microsoft’s ’392 patent, each of

the acceleration components H (2502 in the figure below) communicates with other acceleration

components through multiport switch 2532, multiplexers, and additional switches and

multiplexers in the top-of-rack (TOR) switch (not shown).




Exhibit 16 at Fig. 25 (annotated).

       344.    When one acceleration component needs to send inter-task communications data to

another of the pipelined stages executing on a remote acceleration component, the data is sent

through multiport switch 2532 (which is an example of a hardware resource dedicated to the local

task), multiplexers, and additional switches and multiplexers in the TOR switch, through the

TOR interface on the remote acceleration component, and to the multiport switch 2532 on the


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remote acceleration component.

       345.    When one acceleration component needs to receive data from another of the

pipelined stages executing on a different acceleration component, the data is sent through

multiport switch 2532 on the remote acceleration component, through the multiplexers on the

remote acceleration component, through the additional switches and multiplexers in the TOR

switch, through the TOR interface on 2512 on the local acceleration component, and to the

multiport switch 2532 on the local acceleration component.

       346.    In accordance with 35 U.S.C. § 287, Microsoft has had actual notice and knowledge

of the ’353 patent no later than its issuance.

       347.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’353 patent.

       348.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’353 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into

the United States, the Microsoft Azure platform or components and services thereof.

       349.    Microsoft’s infringement of the ’353 patent has been, and continues to be knowing,

intentional, and willful. Microsoft has had knowledge of and notice of the application underlying

the ’353 patent since at least January 2018 and despite this knowledge continues to commit the

aforementioned infringing acts. For at least the reasons stated in this paragraph and above, this

infringement has been willful.

       350.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to




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induce, infringement of the ’353 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’353 patent by executing the system

operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.

       351.     Second, on information and belief, Microsoft has induced infringement by its

customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’353 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources

on behalf of application programs of customers of the Azure platform cloud computing services.

       352.     Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’353 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

       353.    Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customers’ infringing use of the




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Azure platform.

          354.   Microsoft has engaged in the above activities with knowledge of the ’353 patent

and with the specific intent to encourage and cause infringement by its customers, as shown by the

allegations set forth above.

          355.   Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’353 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’353 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

cloud platform, thereby infringing the ’353 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute a material part of the claimed invention of the ’353

patent.

          356.   Microsoft’s infringement of the ’353 patent has injured ThroughPuter in its

business and property rights. Microsoft’s infringement of the ’353 patent has been and is deliberate

and willful and constitutes egregious misconduct. Despite actual knowledge of the ’353 patent and

numerous related patents and applications since at least January 2018, Microsoft continued to

develop and offer its infringing products and services. In developing and offering its products and

services, Microsoft has been willfully blind to this ongoing infringement. ThroughPuter is entitled

to recover monetary damages for the injuries arising from Microsoft’s willful infringement

pursuant to 35 U.S.C. § 284 in an amount to be determined at trial. Microsoft’s infringement of




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the ’353 patent has caused irreparable harm to ThroughPuter and will continue to cause such harm

unless and until Microsoft’s infringing activities are enjoined by this Court.

         357.   Microsoft’s infringement of the ’353 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                           COUNT 6
                          (Infringement of U.S. Patent No. 10,310,902)

         358.   ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

         359.    On June 4, 2019, the United States Patent and Trademark Office duly and legally

issued the ’902 patent, entitled “System and Method for Input Data Load Adaptive Parallel

Processing.” A copy of the ’902 patent is attached as Exhibit 6.

         360.    Mark Sandstrom is the sole and true inventor of the ’902 patent.

         361.   ThroughPuter owns all right, title, and interest to and in the ’902 patent.

         362.   Microsoft infringes at least claims 1-2 and 4-16 of the ’902 patent.

         363.   Claim 1 of the ’902 patent is representative of the claims infringed by Microsoft

and recites:

         1. A system, executing on at least one of hardware logic and software logic executing on
                a plurality of processors, for hosting a plurality of application programs, the
                system comprising:

         a plurality of processing data input buffers, each input buffer of the plurality of
                 processing data input buffers queuing data for a corresponding instance of one
                 program of the plurality of application programs, wherein each program of the
                 plurality of programs comprises a plurality of instances;

         an array of cores of computing capacity;

         a first subsystem configured to allocate the array of cores of computing capacity among
                  the plurality of application programs, wherein



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               allocating comprises allocating the array of cores of computing capacity based at
                       least in part on a respective volume of processing data at each buffer of
                       the plurality of processing data input buffers, and a respective processing
                       quota of each application program of at least a portion of the plurality of
                       application programs, and allocating comprises allocating more than one
                       core of the array of cores of computing capacity to at least one of the
                       plurality of application programs;

       a second subsystem configured to assign, for each program of the plurality of application
              programs, each core allocated to the respective program to a different instance of
              the plurality of instances of the respective program, wherein

               the assigning results in assignment of a plurality of selected instances of the
                       plurality of instances of the plurality of application programs, the plurality
                       of instances comprising one or more executable instances of each program
                       of the plurality of application programs, wherein

               a number of the plurality of selected instances is fewer than a maximum number
                     of the plurality of instances, and the plurality of selected instances is
                     selected based at least in part on respective volumes of processing data
                     available for each instance of the plurality of instances of the respective
                     program at the portion of the plurality of data input buffers queuing data
                     for the respective program, and according to the assigning, control
                     connectivity between the plurality of processing data input buffers and the
                     array of cores; and

       a third subsystem configured, according to the controlling, to establish direct data access
               from each input buffer of at least a subset of the plurality of processing data input
               buffers to the respective core of the array of cores that is assigned to a given
               corresponding instance of the program for which the respective input buffer is
               queuing data;

       wherein the array of cores is periodically allocated by the first subsystem and assigned by
              the second subsystem based at least in part on changes in respective volumes of
              processing data associated with each program of the plurality of application
              programs.
       364.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’902 patent.

               1. A system, executing on at least one of hardware logic and software logic
               executing on a plurality of processors, for hosting a plurality of application
               programs, the system comprising:

       365.    As explained above in the section entitled “Microsoft’s Infringing Cloud




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Computing Architecture,” Microsoft Azure comprises a system, executing on at least one of

hardware logic and software logic executing on a plurality of processors, for hosting a plurality of

application programs. Microsoft Azure is configured to, and Microsoft uses Azure to, manage and

host a number of applications across a pool of processing nodes. The AC in conjunction with the

RM, SMs, and FMs is used to manage the assignment of computing cores across multiple

applications and multiple application tasks running, for instance, on multiple computing cores such

as CPUs, GPUs, and/or FPGA processors.

               a plurality of processing data input buffers, each input buffer of the plurality of
               processing data input buffers queuing data for a corresponding instance of one
               program of the plurality of application programs, wherein each program of the
               plurality of programs comprises a plurality of instances;

       366.    Microsoft Azure includes a plurality of processing data input buffers, each input

buffer of the plurality of processing data input buffers queuing data for a corresponding instance

of one program of the plurality of application programs, wherein each program of the plurality of

programs comprises a plurality of instances.

       367.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” in Azure, queues are associated with specific applications, which act as

input buffers for queuing data provided by application programs.

               an array of cores of computing capacity;
       368.    Microsoft Azure includes an array of cores of computing capacity.

       369.    As discussed above, Azure includes an array of processing cores (e.g., FPGA

processors).

               a first subsystem configured to allocate the array of cores of computing capacity
               among the plurality of application programs, wherein allocating comprises
               allocating the array of cores of computing capacity based at least in part on a
               respective volume of processing data at each buffer of the plurality of
               processing data input buffers, and a respective processing quota of each
               application program of at least a portion of the plurality of application


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               programs, and allocating comprises allocating more than one core of the array
               of cores of computing capacity to at least one of the plurality of application
               programs;

       370.    Microsoft Azure includes a first subsystem configured to allocate the array of cores

of computing capacity among the plurality of application programs, wherein allocating comprises

allocating the array of cores of computing capacity based at least in part on a respective volume of

processing data at each buffer of the plurality of processing data input buffers, and a respective

processing quota of each application program of at least a portion of the plurality of application

programs, and allocating comprises allocating more than one core of the array of cores of

computing capacity to at least one of the plurality of application programs.

       371.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the RM in conjunction with the SMs and FMs, which work in

coordination with the AC, periodically reallocates processing cores among various application

programs (e.g., web search ranking, DNN, SQL, SDN offload) based on the processing needs of

each application.

       372.    Microsoft Azure also supports subscriptions for assured processing resource access

levels for an additional fee. The RM in conjunction with the SMs and FMs, which work in

coordination with the AC, allocates processing resources based in part on the amount of resources

subscribed to by a given client for its applications.

               a second subsystem configured to assign, for each program of the plurality of
               application programs, each core allocated to the respective program to a
               different instance of the plurality of instances of the respective program,
               wherein the assigning results in assignment of a plurality of selected instances
               of the plurality of instances of the plurality of application programs, the
               plurality of instances comprising one or more executable instances of each
               program of the plurality of application programs, wherein a number of the
               plurality of selected instances is fewer than a maximum number of the plurality
               of instances, and the plurality of selected instances is selected based at least in
               part on respective volumes of processing data available for each instance of the
               plurality of instances of the respective program at the portion of the plurality of


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                data input buffers queuing data for the respective program, and according to
                the assigning, control connectivity between the plurality of processing data
                input buffers and the array of cores; and

        373.    Microsoft Azure includes a second subsystem configured to assign, for each

program of the plurality of application programs, each core allocated to the respective program to

a different instance of the plurality of instances of the respective program.

        374.    The assigning results in assignment of a plurality of selected instances of the

plurality of instances of the plurality of application programs, the plurality of instances comprising

one or more executable instances of each program of the plurality of application programs.

        375.    A number of the plurality of selected instances is fewer than a maximum number

of the plurality of instances, and the plurality of selected instances is selected based at least in part

on respective volumes of processing data available for each instance of the plurality of instances

of the respective program at the portion of the plurality of data input buffers queuing data for the

respective program, and according to the assigning, control connectivity between the plurality of

processing data input buffers and the array of cores.

        376.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the SMs in coordination with the RM and FMs, which work in

conjunction with the AC, select tasks to be assigned to, and executed by, each processing core in

a group. The selection and assignment of the respective application instances is a function of the

number of cores in the group, the readiness of the application task instances for execution, and the

processing needs of each application instance as manifested at the input buffers or queues for each

program. A given application will often not have all of its possible tasks processed all the time.

        377.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the controller through the Azure Fabric controls connectivity between



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the processing cores.

                a third subsystem configured, according to the controlling, to establish direct
                data access from each input buffer of at least a subset of the plurality of
                processing data input buffers to the respective core of the array of cores that is
                assigned to a given corresponding instance of the program for which the
                respective input buffer is queuing data; wherein the array of cores is
                periodically allocated by the first subsystem and assigned by the second
                subsystem based at least in part on changes in respective volumes of processing
                data associated with each program of the plurality of application programs.

        378.    Microsoft Azure includes a third subsystem configured, according to the

controlling, to establish direct data access from each input buffer of at least a subset of the plurality

of processing data input buffers to the respective core of the array of cores that is assigned to a

given corresponding instance of the program for which the respective input buffer is queuing data.

        379.    Azure’s FMs in coordination with SMs and RM, which work in conjunction with

the AC, establish direct data input access from the queues to the appropriate processing cores.

        380.    In Microsoft Azure, the array of cores is periodically allocated by the first

subsystem and assigned by the second subsystem based at least in part on changes in respective

volumes of processing data associated with each program of the plurality of application programs.

        381.    As discussed above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the RM in coordination with the SMs and FMs (which work in

conjunction with the AC) allocates and assigns processors based on changes in processing volume.

In some situations, such as the scenarios described in the ’709 patent, in a given reallocation some

of the processor cores are added to the group of processors performing a task (e.g., mathematical

algorithm) for an application (e.g., search). An impact of this is that the amount of input data sent

to individual cores in that group decreases since there are more cores performing the mathematical

algorithm per a given volume of input data to be processed (e.g., searched for key terms).

        382.    Upon information and belief, in accordance with 35 U.S.C. § 287, Microsoft has


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had actual notice and knowledge of the ’902 patent no later than its issuance.

       383.    Microsoft has had knowledge of and notice of the chain of applications underlying

the ’902 patent since at least January 2018 when ThroughPuter brought the ’090 and ’833 patents

as well as its portfolio, including a number of pending patent applications, to the attention of

Microsoft in the January 2018 letter.

       384.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’902 patent.

       385.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’902 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into

the United States, the Microsoft Azure platform or components and services thereof.

       386.    Microsoft’s infringement of the ’902 patent has been, and continues to be knowing,

intentional, and willful. On information and belief, Microsoft has had knowledge of and notice of

the application underlying the ’902 patent since at least January 2018 and despite this knowledge

continues to commit the aforementioned infringing acts. For at least the reasons stated in this

paragraph and above, this infringement has been willful.

       387.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’902 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’902 patent by executing the system




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operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.

       388.    Second, on information and belief, Microsoft has induced infringement by its

customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’902 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources

on behalf of application programs of customers of the Azure platform cloud computing services.

       389.    Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’902 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

       390.    Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customers’ infringing use of the

Azure platform.

       391.    On information and belief, Microsoft has engaged in the above activities with

knowledge of the ’902 patent and with the specific intent to encourage and cause infringement by

its customers, as shown by the allegations set forth above.




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          392.   Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’902 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’902 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

cloud platform, thereby infringing the ’902 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute a material part of the claimed invention of the ’902

patent.

          393.   Microsoft’s infringement of the ’902 patent has injured ThroughPuter in its

business and property rights. Microsoft’s infringement of the ’902 patent has been and is deliberate

and willful and constitutes egregious misconduct. On information and belief, despite actual

knowledge of the ’902 patent and numerous related patents and applications since at least January

2018, Microsoft continued to develop and offer its infringing products and services. In developing

and offering its products and services, Microsoft has been willfully blind to this ongoing

infringement. ThroughPuter is entitled to recover monetary damages for the injuries arising from

Microsoft’s willful infringement pursuant to 35 U.S.C. § 284 in an amount to be determined at

trial. Microsoft’s infringement of the ’902 patent has caused irreparable harm to ThroughPuter and

will continue to cause such harm unless and until Microsoft’s infringing activities are enjoined by

this Court.

          394.   Microsoft’s infringement of the ’902 patent is exceptional and entitles




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ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                           COUNT 7
                          (Infringement of U.S. Patent No. 10,133,599)

         395.   ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

         396.   On November 20, 2018, the United States Patent and Trademark Office duly and

legally issued the ’599 patent, entitled “Application Load Adaptive Multi-Stage Parallel Data

Processing Architecture.” A copy of the ’599 patent is attached as Exhibit 7.

         397.   Mark Sandstrom is the sole and true inventor of the ’599 patent.

         398.   ThroughPuter owns all right, title, and interest to and in the ’599 patent.

         399.   Microsoft infringes at least claims 1-8, 10-11, 13-15, and 17-20 of the ’599 patent.

         400.   Claim 1 of the ’599 patent is representative of the claims infringed by Microsoft

and recites:

         1.     A system including processors and comprising a plurality of subsystems,
                implemented on hardware logic and/or software logic executing on the processors,
                for dynamic resource management of a pool of processing resources on behalf of
                application programs, the system comprising:
                a first subsystem configured to periodically allocate a plurality of processing units
                of the pool of processing resources among a plurality of application programs over
                time, wherein
                the plurality of processing units comprises units of at least two types of processing
                        units and/or units of a reconfigurable type, and
                allocating the plurality of processing units among the plurality of application
                        programs is based at least in part on i) a respective processing demand of
                        each of the plurality of application programs, and ii) a respective processing
                        resource quota of each program of a subset of the plurality of application
                        programs;
                a second subsystem configured to, for each program of the plurality of application
                programs, select a set of highest priority instances of one or more instances of a
                respective program, wherein



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               a number of instances in the set of instances corresponds to a number of processing
                     units allocated to the respective application program by the first subsystem
                     during a current allocation period, and each instance of the set of highest
                     priority instances is selected based at least in part on a) the number of
                     processing units allocated to the respective program and b) a relative
                     readiness for execution among the one or more instances of the respective
                     application program; and
               a third subsystem configured to assign, for each of the plurality of application
               programs, the respective set of highest priority instances to a subset of the
               processing units allocated by the first subsystem for the respective application
               program for execution during an upcoming allocation period, wherein, for at least
               a portion of instances of at least a portion of the plurality of application programs,
               a respective instance of the respective set of highest priority instances is associated
                      with a processing unit type or configuration, wherein assigning comprises
                      placing the respective instance to a respective processing unit of the
                      plurality of processing units based at least in part on the processing unit type
                      or configuration associated with the respective instance, and prioritizing
                      placement of the respective instance to the particular type or configuration
                      processing unit demanded;
               wherein the system is further configured to periodically adjust allocations of the
               plurality of processing units of the pool of processing resources over time, wherein,
               for each periodic adjustment, the adjusting is followed by the selecting and the
               assigning.

       401.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’599 patent.

       1. A system including processors and comprising a plurality of subsystems,
          implemented on hardware logic and/or software logic executing on the processors,
          for dynamic resource management of a pool of processing resources on behalf of
          application programs, the system comprising:

       402.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft Azure comprises a system including processors and

comprising a plurality of subsystems, implemented on hardware logic and/or software logic

executing on the processors, for dynamic resource management of a pool of processing resources

on behalf of application programs.

       403.    Microsoft Azure is configured to, and Microsoft uses Azure to, manage and host a


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number of applications across a pool of processing nodes. The Azure RM (in coordination with

the SMs and FMs) is used to manage the assignment of computing cores across multiple

applications and multiple application tasks running, for instance, on multiple computing cores such

as CPUs, GPUs, and/or FPGA processors.

       a first subsystem configured to periodically allocate a plurality of processing units of the
                pool of processing resources among a plurality of application programs over
                time, wherein
               the plurality of processing units comprises units of at least two types of processing
                      units and/or units of a reconfigurable type, and
               allocating the plurality of processing units among the plurality of application
                       programs is based at least in part on i) a respective processing demand of
                       each of the plurality of application programs, and ii) a respective
                       processing resource quota of each program of a subset of the plurality of
                       application programs;

       404.    Microsoft Azure includes a first subsystem configured to periodically allocate a

plurality of processing units of the pool of processing resources among a plurality of application

programs over time, wherein the plurality of processing units comprises units of at least two types

of processing units and/or units of a reconfigurable type, and allocating the plurality of processing

units among the plurality of application programs is based at least in part on i) a respective

processing demand of each of the plurality of application programs, and ii) a respective processing

resource quota of each program of a subset of the plurality of application programs.

       405.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the RM in coordination with the SMs and FMs, which work in

conjunction with the AC, periodically reallocates processing units (e.g., CPUs, reconfigurable

FPGA cores, and/or other core types) among various application programs (e.g., web search

ranking, DNN, SQL, SDN offload) based on the processing demand of each application.

       406.    Microsoft Azure also supports subscribing for assured resources such as FPGA



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Groupings for an additional fee. In such scenarios, the RM in coordination with the SMs and FMs,

which work in conjunction with the AC, allocates processors based in part on the number of FPGA

Groupings subscribed by the client for its application.

       a second subsystem configured to, for each program of the plurality of application
              programs, select a set of highest priority instances of one or more instances of a
              respective program, wherein
               a number of instances in the set of instances corresponds to a number of
                    processing units allocated to the respective application program by the
                    first subsystem during a current allocation period, and each instance of
                    the set of highest priority instances is selected based at least in part on a)
                    the number of processing units allocated to the respective program and b)
                    a relative readiness for execution among the one or more instances of the
                    respective application program; and

       407.    Microsoft Azure includes a second subsystem configured to, for each program of

the plurality of application programs, select a set of highest priority instances of one or more

instances of a respective program, wherein a number of instances in the set of instances

corresponds to a number of processing units allocated to the respective application program by the

first subsystem for a current allocation period, and each instance of the set of highest priority

instances is selected based at least in part on a) the number of processing units allocated to the

respective program and b) a relative readiness for execution among the one or more instances of

the respective application program.

       408.    As discussed above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Azure schedules tasks based on their relative readiness for execution.

Azure prioritizes tasks based on, e.g., whether a task is awaiting input data and whether data

sufficient to execute the task exists in the queue.

       409.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the AC working in conjunction with the RM, SMs, and FMs selects

tasks to be assigned to, and executed by, each FPGA or other processor core in a group. The


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number and selection of the respective tasks is a function of at least the number of processor cores

in the group and the respective readiness of the tasks for execution.

       a third subsystem configured to assign, for each of the plurality of application programs,
               the respective set of highest priority instances to a subset of the processing units
               allocated by the first subsystem for the respective application program for
               execution during an upcoming allocation period, wherein, for at least a portion
               of instances of at least a portion of the plurality of application programs,
               a respective instance of the respective set of highest priority instances is
                     associated with a processing unit type or configuration, wherein assigning
                     comprises placing the respective instance to a respective processing unit
                     of the plurality of processing units based at least in part on the processing
                     unit type or configuration associated with the respective instance, and
                     prioritizing placement of the respective instance to the particular type or
                     configuration processing unit demanded;

       410.    Microsoft Azure includes a third subsystem configured to assign, for each of the

plurality of application programs, the respective set of highest priority instances to a subset of the

processing units allocated by the first subsystem for the respective application program for

execution during an upcoming allocation period, wherein, for at least a portion of instances of at

least a portion of the plurality of application programs, a respective instance of the respective set

of highest priority instances is associated with a processing unit type or configuration, wherein

assigning comprises placing the respective instance to a respective processing unit of the plurality

of processing units based at least in part on the processing unit type or configuration associated

with the respective instance, and prioritizing placement of the respective instance to the particular

type or configuration processing unit demanded.

       411.    The SMs in coordination with the FMs and RM, which work in conjunction with

the AC, assign the selected tasks for execution on the individual FPGA or other processor cores in

the group.

       412.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the FPGA cores in each group are configured or reconfigured to


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optimally perform a certain task such as encryption or performing a mathematical algorithm

associated with web search ranking. In the use cases, illustrated in the materials discussed above,

every task is assigned to a FPGA core specially configured for the task.

       wherein the system is further configured to periodically adjust allocations of the plurality
       of processing units of the pool of processing resources over time, wherein, for each
       periodic adjustment, the adjusting is followed by the selecting and the assigning.

       413.    Microsoft Azure is further configured to periodically adjust allocations of the

plurality of processing units of the pool of processing resources over time, wherein, for each

periodic adjustment, the adjusting is followed by the selecting and the assigning.

       414.    As discussed above, the RM in coordination with the SMs and FMs, allocates a

number of FPGA cores among the applications and periodically adjusts that allocation while the

SMs (which work in conjunction with the AC, RM, and FMs), select tasks for execution by the

appropriately configured FPGA cores.

       415.    Microsoft has had knowledge of and notice of the chain of applications underlying

the ’599 patent since at least January 2018 when ThroughPuter brought the ’090 and ’833 patents

as well as the portfolio, including a number of pending patent applications, to the attention of

Microsoft in the January 2018 letter.

       416.    Microsoft has had knowledge of and notice of the application that led to the

issuance of the ’599 patent since September 2018 when ThroughPuter brought the application to

the attention of Microsoft in the September 2018 letter.

       417.    On information and belief, in accordance with 35 U.S.C. § 287, Microsoft has had

actual notice and knowledge of the ’599 patent no later than its issuance.

       418.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’599 patent.


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       419.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’599 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into

the United States, the Microsoft Azure platform or components and services thereof.

       420.    Microsoft’s infringement of the ’599 patent has been, and continues to be knowing,

intentional, and willful. On information and belief, Microsoft has had knowledge of and notice of

the application underlying the ’599 patent since at least January 2018 and despite this knowledge

continues to commit the aforementioned infringing acts. For at least the reasons stated in this

paragraph and above, this infringement has been willful.

       421.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’599 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’599 patent by executing the system

operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.

       422.     Second, on information and belief, Microsoft has induced infringement by its

customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’599 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources




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on behalf of application programs of customers of the Azure platform cloud computing services.

       423.     Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’599 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

       424.    Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customers’ infringing use of the

Azure platform.

       425.    On information and belief, Microsoft has engaged in the above activities with

knowledge of the ’599 patent and with the specific intent to encourage and cause infringement by

its customers, as shown by the allegations set forth above.

       426.    Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’599 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed

invention of the ’599 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure




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cloud platform, thereby infringing the ’599 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute a material part of the claimed invention of the ’599

patent.

          427.   Microsoft’s infringement of the ’599 patent has injured ThroughPuter in its

business and property rights. Microsoft’s infringement of the ’599 patent has been and is deliberate

and willful and constitutes egregious misconduct. On information and belief, despite actual

knowledge of the ’599 patent and numerous related patents and applications since at least January

2018, Microsoft continued to develop and offer its infringing products and services. In developing

and offering its products and services, Microsoft has been willfully blind to this ongoing

infringement. ThroughPuter is entitled to recover monetary damages for the injuries arising from

Microsoft’s willful infringement pursuant to 35 U.S.C. § 284 in an amount to be determined at

trial. Microsoft’s infringement of the ’599 patent has caused irreparable harm to ThroughPuter

and will continue to cause such harm unless and until Microsoft’s infringing activities are enjoined

by this Court.

          428.   Microsoft’s infringement of the ’599 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                           COUNT 8
                           (Infringement of U.S. Patent No. 9,632,833)

          429.   ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.

          430.   On April 25, 2017, the United States Patent and Trademark Office duly and legally

issued the ’833 patent, entitled “Scheduling Application Instances to Processor Cores Over




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Consecutive Allocation Periods Based on Application Requirements.” A copy of the ’833 patent

is attached as Exhibit 8.

       431.    Mark Sandstrom is the sole and true inventor of the ’833 patent.

       432.    ThroughPuter owns all right, title, and interest to and in the ’833 patent.

       433.    Microsoft infringes at least claims 10, 13-15, 17-19, 21-22, 24-25, 27, 29, 32-34,

and 37 of the ’833 patent.

       434.    Claim 34 of the ’833 patent is representative of the claims infringed by Microsoft

and recites:

       34. A system for assigning instances of software programs to an array of processor cores
       comprising:

               a first hardware or software logic subsystem configured to, for each of a series of
               successive core allocation periods (CAPs), select, from a group of executable
               instances of a set of software programs, a subset of the executable instances,
               referred to as selected instances, for execution on the cores of the array for an
               upcoming CAP, wherein the selection of the selected instances is based, at least in
               part, on a respective capacity demand indication of each of the set of software
               programs, with said indication of a given program (a) being based at least in part
               on a number of its executable instances that presently have input data available
               for processing and (b) indicating processor core types demanded by its executable
               instances;

               a second hardware or software logic subsystem configured to assign each of the
               selected instances for execution on a processor core in the array of processor
               cores based, at least in part, on matching the respective demanded processor core
               types associated with the selected instances with types of processor cores
               available for assignment; and

               a third subsystem, comprising the array of processor cores, configured to execute
               the selected instances on their assigned cores over the next CAP, at least in part,
               to process the input data.
       435.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 34 of the ’833 patent.

       34. A system for assigning instances of software programs to an array of processor cores
               comprising:
       436.    As explained above in the section entitled “Microsoft’s Infringing Cloud


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Computing Architecture,” Microsoft Azure comprises a system for assigning instances of software

programs to an array of processor cores.

       437.    Microsoft Azure is configured to, and Microsoft uses Azure to assign instances of

software programs to an array of processor cores.

       a first hardware or software logic subsystem configured to, for each of a series of
               successive core allocation periods (CAPs), select, from a group of executable
               instances of a set of software programs, a subset of the executable instances,
               referred to as selected instances, for execution on the cores of the array for an
               upcoming CAP, wherein the selection of the selected instances is based, at least
               in part, on a respective capacity demand indication of each of the set of software
               programs, with said indication of a given program (a) being based at least in part
               on a number of its executable instances that presently have input data available
               for processing and (b) indicating processor core types demanded by its executable
               instances;

       438.    Microsoft Azure includes a first hardware or software logic subsystem configured

to, for each of a series of successive core allocation periods (CAPs), select, from a group of

executable instances of a set of software programs, a subset of the executable instances, referred

to as selected instances, for execution on the cores of the array for an upcoming CAP, wherein the

selection of the selected instances is based, at least in part, on a respective capacity demand

indication of each of the set of software programs, with said indication of a given program (a)

being based at least in part on a number of its executable instances that presently have input data

available for processing and (b) indicating processor core types demanded by its executable

instances.

       439.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the AC, which works in conjunction with the RM, SMs, and FMs,

selects a subset of available executable instances for execution on the FPGA processors. The

executable instances are selected based on demand indications of respective software programs

with such indications being based in part on the number of instances of the respective program



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ready for execution and the type of processor core needed for a given instance. For example, the

demand indication of a speech translation software will depend on how many tasks can be executed

concurrently and the type of processor core(s) that are best-suited to execute these tasks.

        a second hardware or software logic subsystem configured to assign each of the selected
               instances for execution on a processor core in the array of processor cores based,
               at least in part, on matching the respective demanded processor core types
               associated with the selected instances with types of processor cores available for
               assignment; and

        440.    Microsoft Azure includes a second hardware or software logic subsystem

configured to assign each of the selected instances for execution on a processor core in the array

of processor cores based, at least in part, on matching the respective demanded processor core

types associated with the selected instances with types of processor cores available for assignment.

        441.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the SMs in coordination with the RM and FMs, which work in

conjunction with the AC, assign the selected instances for execution on an FPGA or FPGA

Groupings at least in part by matching the selected instance with a processor core suited to

performing the task.

                a third subsystem, comprising the array of processor cores, configured to execute
                        the selected instances on their assigned cores over the next CAP, at least
                        in part, to process the input data.
        442.    Microsoft Azure includes a third subsystem, comprising the array of processor

cores, configured to execute the selected instances on their assigned cores over the next CAP, at

least in part, to process the input data.

        443.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Azure includes the Azure Fabric, which includes an array of FPGA

cores that execute selected instances to process data received from the queues.

        444.    In accordance with 35 U.S.C. § 287, Microsoft has had actual notice and knowledge


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of the ’833 patent no later than the time when ThroughPuter informed Microsoft of its existence

as set forth, supra.

        445.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’833 patent.

        446.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’833 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into

the United States, the Microsoft Azure platform or components and services thereof.

        447.    Microsoft’s infringement of the ’833 patent has been, and continues to be knowing,

intentional, and willful. Microsoft has had knowledge of and notice of the application underlying

the ’833 patent since at least May 2015 and despite this knowledge continues to commit the

aforementioned infringing acts. For at least the reasons stated in this paragraph and above, this

infringement has been willful.

        448.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’833 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’833 patent by executing the system

operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.




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       449.     Second, on information and belief, Microsoft has induced infringement by its

customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’833 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources

on behalf of application programs of customers of the Azure platform cloud computing services.

       450.     Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’833 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

       451.    Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customer’s infringing use of the

Azure platform.

       452.    Microsoft has engaged in the above activities with knowledge of the ’833 patent

and with the specific intent to encourage and cause infringement by its customers, as shown by the

allegations set forth above.

       453.    Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’833 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed




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invention of the ’833 patent, including at least the Azure PaaS (platform-as-a-service). When, for

example, the Azure platform is used by Microsoft’s customers for the various cloud computing

services Microsoft offers, the Azure system operations and system components are used to perform

the claimed dynamic resource management of the pool of Azure processing resources on behalf of

application programs of customers of the Azure cloud platform, thereby infringing the ’833 patent.

The Azure platform and/or its individual components, supplied by Microsoft, constitute at least a

material part of the claimed invention of the ’833 patent.

         454.   Microsoft’s infringement of the ’833 patent has injured ThroughPuter in its

business and property rights. Microsoft’s infringement of the ’833 patent has been and is deliberate

and willful and constitutes egregious misconduct. Despite actual knowledge of the ’833 patent and

numerous related patents and applications since at least January 2018, Microsoft continued to

develop and offer its infringing products and services. In developing and offering its products and

services, Microsoft has been willfully blind to this ongoing infringement. ThroughPuter is entitled

to recover monetary damages for the injuries arising from Microsoft’s willful infringement

pursuant to 35 U.S.C. § 284 in an amount to be determined at trial. Microsoft’s infringement of

the ’833 patent has caused irreparable harm to ThroughPuter and will continue to cause such harm

unless and until Microsoft’s infringing activities are enjoined by this Court.

         455.   Microsoft’s infringement of the ’833 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.

                                          COUNT 9
                          (Infringement of U.S. Patent No. 9,424,090)

         456.   ThroughPuter repeats and realleges each and every allegation contained above as

though fully set forth herein.



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       457.    On August 23, 2016, the United States Patent and Trademark Office duly and

legally issued the ’090 patent, entitled “Scheduling Tasks to Configurable Processing Cores Based

on Task Requirements and Specification.” A copy of the ’090 patent is attached as Exhibit 9.

       458.    Mark Sandstrom is the sole and true inventor of the ’090 patent.

       459.    ThroughPuter owns all right, title, and interest to and in the ’090 patent.

       460.    Microsoft infringes at least claims 1-7 and 10-15 of the ’090 patent.

       461.    Claim 1 of the ’090 patent is representative of the claims infringed by Microsoft

and recites:

       1. A method for assigning a set of processing tasks to an array of processor cores of
             configurable types, the method comprising:
       executing time variable subsets of the processing tasks of differing types on their assigned
              processor cores of matching types, wherein the matching type for the assigned
              processor core for a given processing task of the set corresponds to a type of a
              processor core demanded by the given processing task;
       for each of a series of core allocation periods (CAPs), selecting, from the set of processing
               tasks, specific tasks, referred to as selected tasks, for execution on the processor
               cores for a next CAP at least in part based on core capacity demand expressions
               associated with the processing tasks;
       assigning the selected tasks for execution on the processor cores for the next CAP in a
              manner to maximize, within the array, a number of processor cores whose assigned
              processing tasks for a present and the next CAP demands the same type of processor
              core; and
       configuring the array such that the type of any given processor core in the array matches
              the type of processing task assigned for execution on the given processor core for
              the next CAP.
       462.    On information and belief, Azure is implemented in a manner that meets each and

every limitation of claim 1 of the ’090 patent.

       1. A method for assigning a set of processing tasks to an array of processor cores of
             configurable types, the method comprising:

       463.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” Microsoft Azure assigns a set of processing tasks to an array of




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processor cores of configurable types.

       executing time variable subsets of the processing tasks of differing types on their
              assigned processor cores of matching types, wherein the matching type for the
              assigned processor core for a given processing task of the set corresponds to a
              type of a processor core demanded by the given processing task;

       464.    Microsoft Azure executes time variable subsets of the processing tasks of differing

types on their assigned processor cores of matching types, wherein the matching type for the

assigned processor core for a given processing task of the set corresponds to a type of a processor

core demanded by the given processing task.

       465.    As explained above in the section entitled “Microsoft’s Infringing Cloud

Computing Architecture,” the FPGA accelerator core blocks in each group are repeatedly

configured or reconfigured to optimally perform tasks, of varying duration, such as encryption or

performing a mathematical algorithm associated with web search ranking. In the use cases,

illustrated in the materials discussed above, a given task is assigned to an FPGA accelerator

configured for optimal execution of the given the task.

       for each of a series of core allocation periods (CAPs), selecting, from the set of
              processing tasks, specific tasks, referred to as selected tasks, for execution on the
              processor cores for a next CAP at least in part based on core capacity demand
              expressions associated with the processing tasks;

       466.    For each of a series of core allocation periods (CAPs), Microsoft Azure selects,

from the set of processing tasks, specific tasks for execution on the processor cores for a next CAP

at least in part based on core capacity demand expressions associated with the processing tasks.

       467.    As discussed above, in Azure, the number of FPGA processor core blocks allocated

to each application changes based on the demand expressions as observed by Azure’s resource

management systems. In the illustrative example depicted above, the Ranking Service program is

allocated twice the number of cores that are assigned to the ADLA program due to the higher

processing needs of the former.


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       assigning the selected tasks for execution on the processor cores for the next CAP in a
       manner to maximize, within the array, a number of processor cores whose assigned
       processing tasks for a present and the next CAP demands the same type of processor
       core; and

       468.    Microsoft Azure assigns the selected tasks for execution on the processor cores for

the next CAP in a manner to maximize, within the array, a number of processor cores whose

assigned processing tasks for a present and the next CAP demands the same type of processor core.

       469.    As discussed above, the SMs in coordination with the RM and FMs, which work in

conjunction with the AC, assigns the selected tasks to FPGA processors for execution, as

illustrated in Microsoft’s ’709 patent, such that the FPGA cores are not reassigned between tasks

demanding different core types if doing so is not necessary. In Azure, FPGA core assignments, at

least across tasks demanding distinct core types, are held constant from one cycle to the next to

the extent permitted by the variations in selections of tasks being assigned for execution.

       configuring the array such that the type of any given processor core in the array matches
       the type of processing task assigned for execution on the given processor core for the
       next CAP.

       470.    Microsoft Azure configures the FPGA core array such that the type of any given

processor core in the array matches the type of processing task assigned for execution on the given

processor core for the next CAP. Azure’s SMs in coordination with the FMs and RM, which work

in conjunction with the AC, assign the selected tasks for execution on appropriate individual FPGA

cores in the group.

       471.    As discussed above, the FPGA cores in each group are configured or reconfigured

to optimally perform a certain task such as encryption or performing a mathematical algorithm

associated with web search ranking. In the use cases, illustrated in the materials discussed above,

every task is assigned to an FPGA core specially configured for the task.

       472.    In accordance with 35 U.S.C. § 287, Microsoft has had actual notice and knowledge



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of the ’090 patent no later than the time when ThroughPuter informed Microsoft of its existence

as set forth, supra.

        473.    On information and belief, Microsoft continues without license to make, use,

import, market, offer for sale, and/or sell in the United States services or products that infringe the

’090 patent.

        474.    Microsoft has directly and indirectly infringed and continues to directly and

indirectly infringe the ’090 patent by engaging in acts constituting infringement under 35 U.S.C.

§ 271(a), (b), and/or (c), including but not necessarily limited to one or more of making, using,

selling and offering to sell, in this District and elsewhere in the United States, and importing into

the United States, the Microsoft Azure platform or components and services thereof.

        475.    Microsoft’s infringement of the ’090 patent has been, and continues to be knowing,

intentional, and willful. Microsoft has had knowledge of and notice of the application underlying

the ’090 patent since at least May 2015 and despite this knowledge continues to commit the

aforementioned infringing acts. For at least the reasons stated in this paragraph and above, this

infringement has been willful.

        476.    Microsoft actively, knowingly, and intentionally has induced, or has threatened to

induce, infringement of the ’090 patent through a range of activities. First, on information and

belief, Microsoft has induced infringement by controlling the design and development of, offering

for sale, and selling the services of the Azure platform with the knowledge and specific intent that

its customers will use the Azure platform to infringe the ’090 patent by executing the system

operations and utilizing the system components to perform dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

platform cloud computing services.




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       477.     Second, on information and belief, Microsoft has induced infringement by its

customers through the dissemination of promotional, marketing, and tutorial materials relating to

the Azure platform with the knowledge and specific intent that its customers will use the Azure

platform to infringe the ’090 patent by executing the system operations and utilizing the system

components to perform dynamic resource management of the pool of Azure processing resources

on behalf of application programs of customers of the Azure platform cloud computing services.

       478.     Third, on information and belief, Microsoft has induced infringement by its

customers through the creation and online posting of tutorial and “how-to” materials for the Azure

platform and/or its individual components in the United States with the knowledge and specific

intent that its customers will use the Azure platform to infringe the ’090 patent by executing the

system operations and utilizing the system components to perform dynamic resource management

of the pool of Azure processing resources on behalf of application programs of customers of the

Azure platform cloud computing services.

       479.    Fourth, on information and belief, Microsoft has induced infringement through the

distribution of other instructional materials, product manuals, and technical materials with the

knowledge and the specific intent to encourage and facilitate its customers’ infringing use of the

Azure platform.

       480.    Microsoft has engaged in the above activities with knowledge of the ’090 patent

and with the specific intent to encourage and cause infringement by its customers, as shown by the

allegations set forth above.

       481.    Microsoft has contributed to, or has threatened to contribute to, the infringement by

its customers of the ’090 patent by, without authority, selling and offering to sell within the United

States cloud computing services and customer support services for practicing the claimed




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invention of the ’090 patent, including at least the Azure platform as a whole and/or the individual

components of the Azure platform. When, for example, the Azure platform is used by Microsoft’s

customers for the various cloud computing services Microsoft offers, the Azure system operations

and system components are used to perform the claimed dynamic resource management of the

pool of Azure processing resources on behalf of application programs of customers of the Azure

cloud platform, thereby infringing the ’090 patent. The Azure platform and/or its individual

components, supplied by Microsoft, constitute at least a material part of the claimed invention of

the ’090 patent.

         482.      Microsoft’s infringement of the ’090 patent has injured ThroughPuter in its

business and property rights. Microsoft’s infringement of the ’090 patent has been and is deliberate

and willful and constitutes egregious misconduct. Despite actual knowledge of the ’090 patent

and numerous related patents and applications since at least January 2018, Microsoft continued to

develop and offer its infringing products and services. In developing and offering its products and

services, Microsoft has been willfully blind to this ongoing infringement. ThroughPuter is entitled

to recover monetary damages for the injuries arising from Microsoft’s willful infringement

pursuant to 35 U.S.C. § 284 in an amount to be determined at trial. Microsoft’s infringement of

the ’090 patent has caused irreparable harm to ThroughPuter and will continue to cause such harm

unless and until Microsoft’s infringing activities are enjoined by this Court.

         483.   Microsoft’s infringement of the ’090 patent is exceptional and entitles

ThroughPuter to attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C.

§ 285.




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                                      PRAYER FOR RELIEF

       WHEREFORE, ThroughPuter respectfully requests that the Court enter judgment against

Microsoft as follows:

       A.      An adjudication that Microsoft has infringed one or more claims of the ’306, ’599,

’902, ’242, ’644, ’998, ’353, ’090, and ’833 patents;

       B.      An order permanently enjoining Microsoft from further infringement of the ’306,

’599, ’902, ’242, ’644, ’998, ’353, ’090, and ’833 patents;

       C.      An award of damages pursuant to 35 U.S.C. § 284;

       D.      An order that the damages award be increased up to three times the actual amount

assessed, pursuant to 35 U.S.C. § 284;

       E.      An award to ThroughPuter of its costs, pre- and post-judgment interest, and

reasonable expenses to the fullest extent permitted by law;

       F.      A declaration that this case is exceptional pursuant to 35 U.S.C. § 285, and an award

of attorneys’ fees and costs; and

       G.      An award to ThroughPuter of such other and further relief as this Court deems just

and proper.

                                    DEMAND FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, ThroughPuter hereby

demands a trial by jury on all issues so triable.




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Dated: March 31, 2021                 /s/ Wayne M. Helge

                                      Wayne Helge, Esq.
                                      Virginia Bar #71074
                                      Davidson Berquist Jackson & Gowdey
                                      8300 Greensboro Drive
                                      Suite 500
                                      McLean, VA 22102
                                      Telephone: (571) 765-7700
                                      Facsimile: (571) 765-7200
                                      whelge@davidsonberquist.com

                                      Attorney for Plaintiff ThroughPuter, Inc.




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